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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                           :
CHRISTY REHM; DEBORAH FENIMORE                        :
AND JOEL LIEB; STEVEN STOUGH;                         :
BETH EVELAND; CYNTHIA SNEATH;                         :
JULIE SMITH; AND ARALENE                              :
("BARRIE") D. AND FREDERICK B.                        :
CALLAHAN,                                             :
                                                      :   CIVIL ACTION
                                         Plaintiffs   :
                                                      :
                                  vs.                 :   No. 4:04-cv-2688
                                                      :
DOVER AREA SCHOOL DISTRICT;                           :   (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT                            :
BOARD OF DIRECTORS,                                   :
                                                      :   (Filed Electronically)
                                        Defendants    :



               PLAINTIFFS’ FINDINGS OF FACT AND CONCLUSIONS OF LAW
  ________________________________________________________




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I.        INTRODUCTION
                    Plaintiffs request that the Court adopt the following Findings of Fact

and Conclusions of Law based on the evidence adduced at trial. Plaintiffs’ detailed

findings of fact are summarized in the ultimate findings of fact on pages 141-48.

Legal authority and argument supporting the Conclusions of Law are set forth in

the accompanying Memorandum of Law.

II.       INTELLIGENT DESIGN IS A RELIGIOUS PROPOSITION
                    1.        The evidence presented by plaintiffs at trial demonstrates that

the concept of intelligent design and the book Of Pandas and People (P11), which

are presented to Dover High School students in biology class are religious, and not

scientific. Intelligent design is the same argument made in the early 19th Century

by the Reverend William Paley for the existence of God, distinguished only by the

intelligent-design movement’s refusal, in some forums, to identify with specificity

who the Designer is. Unrebutted expert testimony also established that the leaders

of the intelligent-design movement, both individually, and collectively through the

Discovery Institute’s Center for Science and Culture (previously the Center for

Renewal of Science and Culture), have defined intelligent design in overtly

religious terms. The evidence also demonstrates that the book Of Pandas and

People was written as a creationist text, and the authors merely switched labels for

its creationist arguments after the United States Supreme Court found the teaching



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of “creation science” in public schools to be unconstitutional. And Pandas’

arguments for design, and against evolution, are strikingly similar to those of its

creation-science predecessor. There is substantial evidence even beyond all this

that intelligent design is a form of creationism.

          A.        Intelligent Design Is a Classical Argument for the
                    Existence of God
                    2.        John Haught, a theologian who has written extensively on the

subject of evolution and religion, testified as an expert for plaintiffs. He chaired

the Department of Theology at Georgetown University, and authored thirteen

books on the theological subjects. Three of those books deal specifically with the

issues of evolution and religion. 9:4-5 (Haught).1 He explained that the argument

for intelligent design is not a new scientific argument, but rather an old religious

argument for the existence of God. This argument traces back at least to Thomas

Aquinas in the 13th century, who framed the argument as a syllogism: Wherever

complex design exists, there must have been a designer; nature is complex;

therefore nature must have had an intelligent designer. 9:1 (Haught). Dr. Haught

testified that Aquinas was explicit that this intelligent designer “everyone

understands to be God.” 9:7-8. The syllogism described by Dr. Haught is



          1
       Trial testimony is formatted as follows: Volume: page (witness). Attached
as Exhibit A is the Index Of Trial Transcript Volumes.


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essentially the same argument for intelligent design presented by Professors Behe

and Minnich, employing the phrase “purposeful arrangement of parts.”

                    3.        Dr. Haught testified that this argument for the existence of God

was advanced early in the 19th Century by Reverend Paley. 9:7-8. Defendants’

experts Behe and Minnich admitted that their argument for intelligent design based

on “purposeful arrangement of parts” is the same one that Paley made for design.

23:72 (Behe); 38:44, 57 (Minnich). Professor Behe testified that Paley’s argument

was scientific, not religious, but review of Paley’s essay clearly demonstrates that

Paley was arguing for the existence of God. P751, at 141-42.

                    4.        The only apparent difference between the argument made by

Paley, and the argument for intelligent design, as expressed by Behe and Minnich,

is that intelligent design’s “official position” does not acknowledge that the

designer is God. However, this seems to be a tactical position only. As

Dr. Haught testified, anyone familiar with western religious thought would

immediately make the association that the unnamed designer is God. 9:9. The

description of the designer in Pandas as a “master intellect” (P11, at 85) suggests a

supernatural deity, not any intelligent actor known to exist in the natural world.

Professors Behe and Minnich acknowledged that it was their personal view that the

designer is God, and Professor Minnich testified that he understands many leading

advocates of intelligent design to believe that the designer is God. 21:90 (Behe);


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38:36-38 (Minnich). No other serious alternative has been suggested by the

intelligent-design movement, including by defendants’ expert witnesses. While

proponents occasionally suggest that the designer could be a space alien or a time-

traveling cell biologist, 20:102-103 (Behe), these incredible suggestions are not

taken seriously, ever by their sponsors.

                    5.        The religious nature of intelligent design is made explicit in

Pandas, when it asks rhetorically, “what kind of intelligent agent was it [the

designer], and answers: “On its own science cannot answer this question. It must

leave it to religion and philosophy.” P11 at 7 (emphasis added); 9:13-14 (Haught).

This is an explicit concession that the intelligent designer is outside nature and

science, and since the question is left to religion, must refer to God. 38:98

(Minnich).

          B.        The Intelligent Design Movement Describes Intelligent Design As
                    a Religious Argument
                    6.        The writings of leading intelligent-design proponents similarly

reveal that the designer postulated by their argument is the God of Christianity.

This was demonstrated by the testimony of Dr. Barbara Forrest, and exhibits

admitted during her testimony, including her book Creationism’s Trojan Horse

P630. Dr. Forrest has exhaustively researched and chronicled the history of

intelligent design creationism in Creationism’s Trojan Horse, and other writings,

and for her testimony in this case. 10:15-19 (Forrest). It would be impracticable to

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set forth all the statements by intelligent-design leaders testified about by Dr.

Forrest that demonstrate intelligent design’s religious, philosophical, and cultural

content. The following are representative:

                              (a)     Phillip Johnson has written that “theistic realism” or

“mere creation” are the defining concepts of the intelligent design movement. This

means “that God is objectively real as Creator and recorded in the biological

evidence.” 10:80-81 (Forrest); P328.

                              (b)     Phillip Johnson states that the “Darwinian theory of

evolution contradicts not just the Book of Genesis, but every word in the Bible

from beginning to end. It contradicts the idea that we are here because a creator

brought about our existence for a purpose.” 11:16-17 (Forrest), P524.

                              (c)     Intelligent design proponents Johnson, William Dembski,

and Charles Thaxton, one of the editors of Pandas, situate intelligent design in the

Book of John in the New Testament of the Bible, which begins, “In the Beginning

was the Word, and the Word was God.” 11:18-20, 54-55 (Forrest); P524; P355;

P357. Professor Dembski has written that, “Indeed, intelligent design is just the

Logos theology of John’s Gospel restated in the idiom of information theory.”

11:55 (Forrest); P357.

                              (d)     Dembski has written that ID is a “ground clearing

operation” to allow Christianity to receive serious consideration, and “Christ is


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never an addendum to a scientific theory but always a completion.” 11:50-53

(Forrest), P386; P390.

                    7.        Defendants’ lead expert Michael Behe testified at trial that

intelligent design is only a scientific project for him, not religious. However,

evidence was introduced contradicting this claim. Professor Behe has written

articles arguing that intelligent design requires “science [to] make room for

religion” and helps Christians spread the “Good News” – i.e., the Christian Gospel.

P723; P726; 22:15-17 (Behe).

                    8.        Most remarkably, Professor Behe claims that the plausibility of

the argument for intelligent design depends on the extent to which one believes in

the existence of God. P718, at 705. There is no evidence in the record that any

other scientific proposition’s validity rests on belief in God, and the Court is aware

of none. This assertion constitutes substantial evidence that in Professor Behe’s

view, as with the intelligent-design leaders described above, intelligent design is a

religious proposition, not a scientific one.

                    9.        The religious nature of intelligent design is further established

by the Wedge Document, which was developed by the Discovery Institute’s Center

for Renewal of Science and Culture (“CRSC”). 11:26-48 (Forrest). The CRSC

represents from an institutional standpoint the goals and objectives of the

intelligent-design movement, much as the Institute for Creation Research did for


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the earlier creationists discussed in McLean v. Arkansas Board of Education, 529

F. Supp. 1255 (D. Ark. 1982). 11:24-25, 46 (Forrest). Virtually all the leaders of

the intelligent design movement are affiliated with the CRSC, including Professors

Behe and Minnich. 11:46-47 (Forrest).

                    10.       The Wedge Document states in its “Five Year Strategic Plan

Summary” that the intelligent design movement’s goal is to replace science as

currently practiced with “theistic and Christian science.” P140, at 6. Professor

Behe’s book Darwin’s Black Box is mentioned prominently in this section of the

document as having advanced this objective, an association that he has not

demurred from in any way. Id.

                    11.       The intelligent design movement’s “Governing Goals,” as

posited in the Wedge Document, are to “defeat scientific materialism and its

destructive moral, cultural, and political legacies” and “to replace materialistic

explanations with the theistic understanding that nature and human beings are

created by God.” P140, at 6. These are not scientific goals, but rather cultural and

religious goals. Similar language is found throughout the document. 11:26-48

(Forrest), P140. In the Wedge Document, the CSRC expressly announces a

program of Christian apologetics to promote intelligent design. P140.




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          C.        Intelligent Design Requires Supernatural Creation
                    12.       Intelligent design is religious because it involves a supernatural

designer. The Edwards and McLean courts expressly found that this characteristic

removed creationism from the realm of science and made it a religious proposition.

Edwards v. Aguillard, 482 U.S. 578, 591-592 (1987); McLean, 529 F. Supp. at

1265-1266.

                    13.       Leading intelligent design proponents have made clear that the

designer is supernatural. Phillip Johnson, the law professor who developed

intelligent design’s Wedge Strategy, concluded that science must be redefined to

include the supernatural if religious challenges to evolution are to get a hearing.

11:8-15 (Forrest); P429. According to intelligent design advocate Paul Nelson’s

history of the movement, Johnson argued that “[d]efinitions of science could be

contrived to exclude any conclusion we dislike or to include any we favor.” P429,

at 3 (emphasis added).

                    14.       William Dembski, a core leader of the intelligent-design

movement, agrees that science is ruled by methodological naturalism and argues

that this rule must be overturned if intelligent design is to prosper. 5:32-34

(Pennock). Dembski contends that “the scientific picture of the world championed

since the Enlightenment is not just wrong, but massively wrong. Indeed, entire

fields of inquiry, including especially the human sciences, will need to be


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rethought from the ground up in terms of intelligent design.” 5:35 (Pennock);

P341, at 224.

                    15.       Professor Behe has also written that by intelligent design he

means “not designed by the laws of nature,” and that it is “implausible that the

designer is a natural entity.” P647, at 193; P718, at 696, 700. Professor Minnich

testified that for intelligent design to be considered science, the ground rules of

science have to be broadened so that supernatural causes can be considered. 38:97.

Defendants’ expert Fuller testified that it is intelligent design’s project to change

the ground rules of science to include the supernatural. 28:20-24; Fuller Dep. 115.2

                    16.       Pandas makes clear that there are two kinds of causes, natural

and intelligent, clearly indicating that intelligent causes are beyond nature. P11 at

6. Professor Haught, the only theologian to testify in this case, explained that in

Western intellectual tradition, non-natural causes occupy a space reserved for

ultimate religious explanations. 9:13-14. Robert Pennock, the scientific

philosopher who testified for plaintiffs, concurred that because its basic proposition

is that the features of the natural world are produced by a transcendent, immaterial,

non-natural being, intelligent design is a religious proposition, regardless of

whether that religious proposition is given a recognized religious label. 5:55-56

          2
       All deposition testimony cited to was included in the Deposition
Designations submitted to the court.


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(Pennock). No expert testifying for defendants explained how the supernatural

action suggested by intelligent design could be anything but an inherently religious

proposition.

          D.        Intelligent Design is a Form of Creationism
                    17.       The evidence demonstrates that intelligent design is simply a

new label for the “creationism” or “creation science” that was promoted to public

schools in the 1970s and 1980s, and which federal courts, including the Supreme

Court in Edwards, found to be religious.

                    18.       The most compelling, although far from the only, evidence

supporting this finding is Pandas’ historical pedigree. Pandas is published by an

organization called the Foundation for Thought and Ethics (FTE). Buell Dep. at

13. The FTE’s Articles of Incorporation and filings with the Internal Revenue

Service describe it as a religious, Christian organization. P461; P28. The FTE’s

President Jon Buell appeared before this Court on July 14, 2005 in support of the

FTE’s petition to intervene, and denied that his organization actually had the

mission set forth in the public, legally required filings that he had signed, blaming

their contents on lawyers and accountants. July 14 2005 Tr. 83-85. This testimony

was not credible, particularly in light of other documents created by Buell,

including a fundraising letter (P566), Foundation newsletter (P633), and mission

statement (P168A), all evidencing a clear evangelical-Christian agenda. The


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fundraising letter prepared in 1995, described FTE’s mission as addressing the

“deep hostility to traditional Christian views and values” found in school

curriculum. P568. Buell testified that this issue was particularly important for

biology curriculum. Buell Dep. at 50. Buell appeared determined to hide or deny

an obvious religious agenda, which seems to be a consistent practice and tactic in

the intelligent-design movement.

                    19.       Pandas was written by Dean Kenyon and Percival Davis, both

acknowledged creationists. 10:102-08 (Forrest). Davis is the author of a

creationist book called The Case for Creation. P344. He has never represented

himself as being anything but a Young Earth Creationist. 10:104 (Forrest). Dean

Kenyon is also an acknowledged creationist. In 1986, he submitted an affidavit in

support of the defendants in the Edwards case. P418. In that affidavit he asserted

that “creation science” is the “sole scientific alternative” to the theory of evolution.

Id. ¶ D10. This is significant, because at or around the same time the affidavit was

filed, Kenyon was writing Pandas. 10:8 (Forrest).

                    20.       Nancy Pearcey contributed to the writing of Pandas. Pearcey is

a Young Earth Creationist, who for many years edited the Bible Science

Newsletter, which describes its mission as making the Biblical case for origins.

10:102-08 (Forrest); P634.




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                    21.       The published version of Pandas states that “[i]ntelligent

design means that various forms of life began abruptly through an intelligent

agency with their distinctive features already intact – fish with fins and scales,

birds with feathers, beaks, and wings, etc.” P11, at 99-100. This was described by

many witnesses for plaintiffs and defendants, including Scott Minnich and Steven

Fuller, as “special creation” of kinds of animals, an inherently, religious and

creationist concept. 28:85-86 (Fuller); Minnich Dep. at 34; 1:141-42 (Miller); 9:10

(Haught); 33:54-56 (Bonsell); 1/3/05 Nilsen Dep. at 100-01. Professor Behe’s

assertion that this passage was merely a description of appearances in the fossil

record is not logical. It is clear from review of pages of Pandas that the passage of

99-100 is not a description of the fossil record, but rather a conclusion about how

life began, based on an interpretation of the fossil record. This is reinforced by the

content of the drafts of Pandas, described below.

                    22.       Plaintiffs’ claim that intelligent design is simply a new label for

creationism, not a new concept, is supported by comparing the pre- and post-

Edwards’ drafts of Pandas. Two important points emerge from this comparison:

(1) the definition for creation science in early drafts is identical to the definition of

intelligent design; (2) cognates of the word creation (creationism and creationist)

are systematically replaced with intelligent design; and (3) the changes occurred




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shortly after the Supreme Court held in Edwards that creation science is religious

and cannot be taught in public-school-science classes.

                    23.       Pandas’ drafts prepared with working titles Biology and

Creation, Biology and Origins, and Of Pandas and People, used the term

“creation” pervasively as the proposition in competition with the theory of

evolution. 10:108-128 (Forrest); P1; P560; 562; P565; P652. In fact, the term

“creation” is defined in these drafts as “various forms of life began abruptly

through an intelligent agency with their distinctive features already intact – fish

with fins and scales, birds with feathers, beaks, and wings, etc.”, the same way

“intelligent design” is defined in the published versions. P560, at 210; P1, at 2-13;

P562, at 2-14, 2015; P652, at 2-15; P6, at 99-100; P11, at 99-100; P8562. This

evidence supports plaintiffs’ argument that intelligent design is creationism re-

labeled.

                    24.       In the published version of Pandas, “intelligent design” replaces

the word “creation” and its cognates throughout the book, without changing other

content. 10:119-122 (Forrest); P856.3-856.4. The FTE had no scientific basis for

changing terms. Thaxton Dep. at 72; Buell Dep. at 121.

                    25.       The evidence demonstrates that the change from “creation” to

“intelligent design” occurred sometime in 1987, after the Supreme Court’s

Edwards decision that teaching “creation science” in public schools is


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unconstitutional. 10:122 (Forrest); P856.2. There was evidence that Buell was

following the case closely, and recognized that a ruling against teaching “creation

science” would adversely affect the market for his book. P350; July 14, 2005 Tr.

91-94. Based on all the evidence, the Court can draw the inference that FTE

changed terminology because of the legal ruling.

                    26.       It is not surprising that “intelligent design” means the same

thing as “creationism.” “Design” does not fully describe the biological event

advanced by intelligent design proponents. As Dr. Miller explained “the design

had to be executed. It had to be created. It had to be put into physical form” 2:44.

Defendants’ expert Scott Minnich agreed that the designer did not just design

biological systems like the bacterial flagellum, it “made” or “built” or “created” the

flagellum. 38:38-41. “Creation” is a much more apt term than intelligent design

for the process advocated by the intelligent design movement.

                    27.       The evidence described above demonstrates that intelligent

design is a form of creationism, that Pandas is a creationist book, and that the

Dover Area School Board and Dover Area School District are suggesting that

students read a creationist book.

                    28.       In addition, plaintiffs submitted substantial additional evidence

that intelligent design is a form of creationism, and uses the same arguments as

earlier arguments for creationism 16:79-81, 85-86, 105-07 (Padian); 5:9-15


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(Pennock). Dr. Forrest testified and sponsored exhibits showing six arguments

common to creationists. 10:140-48 (Forrest); P856.1-6. For example, creationists

made the same argument that the complexity of the bacterial flagellum supported

creationism as Professors Behe and Minnich now make for intelligent design.

P853, P845; 37:155-156 (Minnich). The intelligent design movement openly

welcomes adherents to creationism into its “Big Tent,” urging them to postpone

biblical disputes like the age of the earth. 11:3-15 (Forrest); P429. Intelligent

design advocate Mark Hartwig, who wrote a section of the second version of

Pandas, described the leaders of the intelligent design movement as creationists.

P350; 10:133-38 (Forrest). Also, defendants’ expert Steven Fuller admitted that

intelligent design is a form of creationism. Fuller Dep. at 67.

                    29.       Professors Behe and Minnich testified that intelligent design is

not creationism, but their testimony on this subject was primarily by way of

assertion only. They did not directly rebut the creationist history of Pandas or

other evidence presented by plaintiffs showing the commonality between

creationism and intelligent design. The only argument that defendants made to

distinguish creationism from intelligent design was the assertion that the term

“creationism” applies only to arguments based on the Book of Genesis, a young

earth, and a catastrophic Noaich flood. But there was substantial evidence

introduced that this is only one form of creationism, including the chart that was


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distributed to the Board Curriculum Committee. P149, at 2. See also 10:129-32

(Forrest); P555, at 22-24 (draft summary chapter of Pandas, describing differing

types of creationism). Kenyon’s affidavit in the Edwards’ case states that

“[c]reation science does not include as essential parts the concept of catastrophism,

a world-wide flood, a recent inception of the earth or life from nothingness (ex

nihilo), the concept of kinds, or any concepts from Genesis or other religious

texts.” P418, ¶ D9. According to Kenyon, “[c]reation science means origin

through abrupt appearance in complex form,” which is virtually identical to the

definition of “creation” found in the Pandas drafts, and the definition of intelligent

design in the published versions. P418, ¶ 09. The affidavit demonstrates that

“creationism” and “creation-science” are not as narrowly defined as suggested by

defendants, and that intelligent design and creationism share essential elements and

arguments.

          E.        Intelligent Design is a Sectarian Religious Viewpoint
                    30.       Intelligent design is not only religious, but sectarian – as it

entails an essentially biblical and specifically a Christian view of the world. 5:10-

11 (Pennock); 9:15 (Haught); 11:25-27, 43-44, 49 (Forrest). This view of

creationism is not accepted by many religious denominations. 5:111-112

(Pennock).




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                    31.       In fact, intelligent design is explicitly hostile to particular

religious views. For example, it specifically rejects “theistic evolution” as a valid

religious view. 5:111-112 (Pennock); 10:7 (Forrest).

                    32.       Further, arguments used to support intelligent design, such as

inferring design by an intelligent designer through knowledge concerning the

motivation and methods used by humans to design things, are considered

blasphemous by some people. 28:100-102 (Fuller). Teaching intelligent design

forces students to confront theological questions in science class, including

whether any intelligent designer even exists. 1:54-55 (Miller); 22:97-98 (Behe);

17:27 (Padian).

III.      INTELLIGENT DESIGN IS NOT SCIENCE
                    33.       Intelligent design is not science. It fails on three distinct levels,

any one of which invalidates the proposition: a) by invoking and permitting

supernatural causation, intelligent design violates the centuries-old ground rules of

science; b) intelligent design, including it’s poster child argument, irreducible

complexity, employs the same flawed and illogical, contrived dualism that doomed

creation science in the 1980’s; and c) intelligent design’s negative attacks on

evolution have been refuted by the scientific community. Furthermore, intelligent

design has failed to gain acceptance in the scientific community, generate peer-

reviewed publications, or been the subject of testing and research.


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          A.        Reliance on Supernatural Causation Removes Intelligent Design
                    from the Realm of Science
                    34.       The word “science” derives from the Latin word scientia, which

means knowledge. 1:58-59 (Miller). As distinguished from the social sciences

like political and library science, the natural sciences include biology, chemistry,

astronomy, physics. 1:59. References to “science” hereafter, unless otherwise

noted, are to the natural sciences.

                    35.       Since the scientific revolution of the 16th and 17th centuries,

science has been limited to the search for natural causes to explain natural

phenomena. 9:19-22 (Haught); 5:25-29 (Pennock); 1:62 (Miller). This revolution

entailed the rejection of the appeal to authority, and by extension, revelation, in

favor of empirical evidence. 5:28 (Pennock) ("That's probably what's most

characteristic of the scientific revolution, rejecting appeal to authority and saying

we will appeal just to the evidence, the empirical evidence."). Consequently, since

that time, science has been a discipline in which testability, rather than any

ecclesiastical authority or philosophical coherence, has been the measure of a

scientific idea's worth. 9:21-22 (Haught); 1:63 (Miller).

                    36.       Science has deliberately left out theological or “ultimate”

explanations for the existence or characteristics of the natural world. 9:21

(Haught). Science does not consider issues of “meaning and purpose” in the

world. 1:64, 87 (Miller).

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                    37.       Supernatural explanations are important and may have merit,

but they are not part of science. 3:103 (Miller); 9:19-20 (Haught).

                    38.       This self-imposed convention of science, which limits inquiry

to testable, natural explanations about the natural world, is referred to by

philosophers as “methodological naturalism.” 5:23, 29-30 (Pennock).

                    39.       Methodological naturalism, also sometimes known as the

scientific method, is a “ground rule” of science today. 1:59 (Miller); 5:8, 23

(Pennock). This “ground rule” of science requires scientists to seek explanations

in the world around us based upon things we can observe, test, replicate and verify.

1:59-64, 2:41-43 (Miller); 5:23-30 (Pennock). Professor Minnich agrees that

methodological naturalism is the current rule of science. 38:97.

                    40.       The National Academy of Sciences (NAS) was recognized by

experts for both sides as being the “most prestigious” scientific association in this

country. 1:94 (“probably the most prestigious scientific association in the world”),

160-61 (Miller); 14:72 (Alters); 37:31 (Minnich). Accordingly, where appropriate,

the Court cites to the NAS position.

                    41.       NAS agrees that science is limited to empirical, observable and

ultimately testable data: “Science is a particular way of knowing about the world.

In science, explanations are restricted to those that can be inferred from the

confirmable data – the results obtained through observations and experiments that


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can be substantiated by other scientists. Anything that can be observed or

measured is amenable to scientific investigation. Explanations that cannot be

based on empirical evidence are not a part of science.” P649, at 27 (Teaching

about Evolution and the Nature of Science, National Academy Press (2003)). The

restriction to natural explanations in science is implicit in this definition because

non-natural explanations are not testable.

                    42.       This rigorous attachment to “natural” explanations is an

essential attribute of science. 1:63 (Miller); 5:29-31 (Pennock). Both

definitionally and by convention, science is limited to “natural” explanations.

5:29-30 (Pennock). Science is the “systematic search for natural explanations for

natural phenomena.” 1:59, 63 (Miller); 5:30 (Pennock). This search is dependent

on empirical observations – what we can observe and measure -- that can be tested,

replicated and disproven. 1:63 (Miller). If non-natural explanations are allowed,

e.g., Dr. Miller’s example about God’s role in helping the Red Sox win the world

series, the systematic search for “natural causes” is completely undermined. 1:63-

64 (Miller). As Pennock testified, allowing non-natural explanations is “cheating”;

you “can’t just call for quick assistance to some supernatural power. It would

certainly make science very easy…” but it would also fundamentally alter the

practice of science. 5:30 (Pennock). From a practical perspective, attributing

unsolved problems about nature to causes and forces that lie outside the natural


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world is a “science stopper.” 3:14-15 (Miller). Once you attribute a cause to an

untestable supernatural force, a proposition that cannot be disproven, there is no

reason to continue seeking natural explanations – we have our answer. Id.

                    43.       Intelligent design is predicated on supernatural causation.

17:96 (Padian); 2:35-36 (Miller); 14:62 (Alters). Intelligent design takes a natural

phenomenon and, instead of accepting or seeking a natural explanation, argues that

the explanation is supernatural. 5:107 (Pennock).

                    44.       The intelligent-design reference book cited in the Dover

statement as describing “what intelligent design actually involves,” Of Pandas and

People, is clear that the idea entails supernatural causation: “Darwinists object to

the view of intelligent design because it does not give a natural cause explanation

of how the various forms of life started in the first place. Intelligent design means

that various forms of life began abruptly, through an intelligent agency, with their

distinctive feature already intact – fish with fins and scales, birds with feathers,

beaks, and wings, etc.” P11, at 99-100. (Emphasis added). In other words,

animals did not evolve naturally, through evolutionary means, but rather were

created abruptly by a non-natural, or supernatural, designer.

                    45.       Even defendants’ own expert witnesses acknowledged this

point. 21:96-100 (Behe); see also, P718, Michael Behe, Reply to Critics, at 696,

700 (“implausible that the designer is a natural entity”); 28:21-22 (Fuller) (“…ID’s


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rejection of naturalism and commitment to supernaturalism…”), 24; 38:95-96

(Minnich) (ID does not exclude possibility of supernatural designer, including

deities).

                    46.       Indeed, defendants’ argument, which mirrors that of the

intelligent-design movement, is to change the ground rules of science to allow

supernatural causation of the natural world. 5:32 (Pennock). Professor Fuller

agreed that intelligent design aspires to “change the ground rules” of science.

28:26. Professor Behe admitted that his broadened definition of science, which

encompasses intelligent design, would also embrace astrology. 21:37-42 (Behe).

Professor Minnich acknowledged that for intelligent design to be considered

science, the ground rules of science have to be broadened to allow consideration of

supernatural causes. 38:97.

                    47.       William Dembski, an intelligent-design-movement leader,

proclaims that science is ruled by methodological naturalism and argues that this

rule must be overturned if intelligent design is to prosper. 5:32-37 (Pennock).

Dembski contends that “the scientific picture of the world championed since the

Enlightenment is not just wrong, but massively wrong. Indeed, entire fields of

inquiry, including especially the human sciences, will need to be rethought from

the ground up in terms of intelligent design.” 5:35 (Pennock); P341 (William

Dembski, Intelligent Design: A Bridge Between Science and Theology, at 224.


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                    48.       The Discovery Institute, the think tank promoting intelligent

design, has also acknowledged that the goal is to “defeat scientific materialism”

and “to replace materialistic explanations with the theistic understanding that

nature and human beings are created by God.” P140, at 6 (The Wedge Document).

See supra. ¶ 11.

                    49.       Every major scientific association that has taken a position on

this issue has stated that intelligent design is not, and cannot be considered,

science. 1:98-99 (Miller); 14:75-78 (Alters); 37:25 (Minnich).

                    50.       For example, NAS views intelligent design as follows:

“Creationism, intelligent design, and other claims of supernatural intervention in

the origin of life or of species are not science because they are not testable by the

methods of science. These claims subordinate observed data to statements based on

authority, revelation, or religious belief. Documentation offered in support of these

claims is typically limited to the special publications of their advocates. These

publications do not offer hypotheses subject to change in light of new data, new

interpretations, or demonstration of error. This contrasts with science, where any

hypothesis or theory always remains subject to the possibility of rejection or

modification in the light of new knowledge.” P192, at 25 (National Academy

Press, Science and Creationism: A View from the National Academy of Sciences

(2d Ed. 1999)).


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                    51.       The largest organization of scientists in this country, the

American Association for the Advancement of Science (“AAAS”), has taken a

similar position on intelligent design, namely, that it “has not proposed a scientific

means of testing its claims” and that “the lack of scientific warrant for so-called

‘intelligent design theory’ makes it improper to include as part of science

education….” P198 (AAAS Board Resolution on Intelligent Design Theory, Oct.

18, 2002).

                    52.       Neither plaintiffs’ nor defendants’ expert witnesses identified a

single major scientific association, society or organization that endorsed intelligent

design as science.

                    53.       Defendant’s experts admit that intelligent design is not a theory

as that term is defined by the NAS. 21:37-38 (Behe); Fuller Dep. 98. According to

Professor Behe, intelligent design is a scientific theory only if that term is defined

loosely enough to also include astrology. 21:38-39.

                    54.       Defendants’ expert Steve Fuller described intelligent design as

“fringe science,” which need affirmative action to become accepted. 28:47

Defendants’ expert Scott Minnich admitted that intelligent design has achieved no

acceptance in the scientific community; it is science “in its infancy.” Minnich

Dep. at 89.




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                    55.       Intelligent design does not, therefore, meet the essential ground

rules that limit science to testable, natural explanations. 3:101-03 (Miller); 14:62

(Alters).

                    56.       Science cannot be defined differently for Dover students than it

is defined in the scientific community as an affirmative action program for a view

that has been unable to gain a foothold within the scientific establishment.

Intelligent design’s failure to meet the ground rules of science is alone enough for

this Court to rule that it is not a scientific view.

          B.        Intelligent Design Relies on the Same Logically Flawed Argument
                    that Doomed Creation Science
                    57.       Intelligent design is premised on a false dichotomy, namely,

that to the extent evolutionary theory is discredited, intelligent design is confirmed.

5:41 (Pennock). This same argument, termed “contrived dualism” in McLean v.

Arkansas Board of Education, was employed by creationists in the 1980’s to

support “creation science.” This argument is no more availing to justify intelligent

design today than it was to justify creation science two decades ago.

                    58.       Intelligent design proponents primarily argue for design

through negative argument against evolution, including Professor Behe’s argument

that “irreducibly complex” systems cannot be produced through Darwinian, or any

natural, mechanisms. 5:38-41 (Pennock). 1:39, 2:15, 2:35-37, 3:96 (Miller);

16:72-73 (Padian); 5:38-41 (Pennock); 10:148 (Forrest). Intelligent design

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attempts to “poke holes” in evolutionary theory – to say that Darwinian

mechanisms, meaning natural causes, cannot explain life’s complexity. 5:39

(Pennock).

                    59.       For example, Professor Behe argued that intelligent design

“focuses exclusively on the proposed mechanism of how complex biological

structures arose,” 21:63, but admitted that intelligent design does not propose any

mechanism, just a negative argument against natural selection. 21:84-87. He also

conceded that, “Pandas is making a negative argument against common descent to

… more greatly enhance the plausibility of the alternative of intelligent design.”

21:82.

                    60.       The following passages from Of Pandas and People, P11, also

reflect this negative argument against evolution: “Design proponents have long

asserted that gaps in the fossil record are evidence for intelligent design,” at 87;

"Since it is not reliable, most of the so-called evidence for macro-evolution (and

conversely against intelligent design) obtained from comparative anatomy and

embryology is weak and could turn out to be misleading…” at 133 (parenthetical

in original); Multiple accidental gene mutations are a highly improbable source of

new genetic information to code for multi-functional structures….” at 72; and

“[n]o creatures with a partial wing or partial eye are known. Should we close our

minds to the possibility that the various types of plants and animals were


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intelligently designed? This alternative suggests that a reasonable natural cause

explanation for origins may never be found, and that intelligent design best fits the

data….” at 99-100.

                    61.       Arguments against evolution are not arguments for design. Just

because scientists cannot explain today how biological systems evolved does not

mean they cannot, and will not, be able to explain them tomorrow. 2:36-37

(Miller). In Dr. Padian’s words, “absence of evidence is not evidence of absence.”

17:45. Testimony from Drs. Miller and Padian was replete with examples where

Pandas asserted that no natural explanations exist, and in some cases that none

could exist, and yet natural explanations have been identified in the intervening

years, e.g., intermediate fossils showing evolution of the whale, evolution of the

immune system, mapping of the chimpanzee genome “spectacularly confirming”

common ancestry between humans and great apes, etc.

                    62.       Just because scientists cannot explain every evolutionary detail

does not undermine its validity as a scientific theory. No theory in science is fully

understood. 3:102 (Miller). But that is true in other areas of knowledge, too. We

do not know every detail about what happened at Gettysburg, but historians do not

doubt the fact of the battle and know a great deal about how it unfolded. 3:104-05

(Miller). Just because we do not know every detail about Gettysburg or how

evolution progresses does not mean we are not confident that the battle occurred or


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that the theory of evolution is the best scientific explanation for change over time.

Id.

                    63.       According to defendants’ own expert, Stephen Fuller, design

does not logically follow from scientists’ inability to explain every detail of how

evolution occurred. 28:63-66. See also 2:40 (Miller). In fact, Professor Fuller

testified that even if the negative argument of irreducible complexity disproved

natural selection, it does not follow that intelligent design is proved because it does

not rule out rival hypotheses. Fuller Dep. at 167-70.

          C.        Irreducible Complexity Fails Even as a Purely Negative
                    Argument Against Evolution
                    64.       Irreducible complexity, intelligent design’s alleged scientific

centerpiece, is simply a negative argument against evolution, not proof of design,

2:15 (Miller), a point conceded by Professor Minnich. 38:82 (irreducible

complexity “is not a test of intelligent design; it’s a test of evolution”). It fails to

make any positive scientific case for intelligent design. Moreover, the evidence

demonstrates that irreducible complexity fails even as a purely negative argument.

                    65.       Irreducible complexity was defined by Professor Behe in

Darwin’s Black Box and modified in his 2001 article Reply to My Critics, as

follows: ““By irreducibly complex I mean a single system which is composed of

several well-matched, interacting parts that contribute to the basic function,

wherein the removal of any one of the parts causes the system to effectively cease

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functioning. An irreducibly complex system cannot be produced directly by slight,

successive modifications of a precursor system, because any precursor to an

irreducibly complex system that is missing a part is by definition nonfunctional.

*** Since natural selection can only choose systems that are already working, then

if a biological system cannot be produced gradually it would have to arise as an

integrated unit, in one fell swoop, for natural selection to have anything to act on.”

P647, Behe, Michael, Darwin’s Black Box, at 39, Free Press (1996). P718, at 694.

                    66.       Professor Behe admitted in Reply to My Critics that there was a

defect in his view of irreducible complexity because, while it purports to be a

challenge to natural selection, it does not actually address “the task facing natural

selection.” P718, at 695. Specifically, Behe explained that “[t]he current

definition puts the focus on removing a part from an already-functioning system,”

but “[t]he difficult task facing Darwinian evolution, however, would not be to

remove parts from sophisticated pre-existing systems; it would be to bring together

components to make a new system in the first place.” P718, at 695. In that article,

Professor Behe wrote that he hoped to “repair this defect in future work,” P718, at

695, but he never has. 22:61-65. This admitted failure to properly address the

very phenomenon that irreducible complexity purports to place at issue – natural

selection – is a damning indictment of the entire proposition.




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                    67.       Dr. Miller and Dr. Padian explained that Professor Behe’s

concept of irreducible complexity depends on ignoring ways in which evolution is

known to occur. Behe was adamant that in his definition of irreducible complexity

when he says a precursor “missing a part is by definition nonfunctional,” what he

means is that it won’t function in the way the system functions when all the parts

are present – for example, in the case of the bacterial flagellum, as a rotary motor.

19:88. He excludes, by definition, the possibility that a precursor functioned in

some other way – for example, in the case of the bacterial flagellum, as a secretory

system. 19:88-95.

                    68.       This qualification on what is meant by “irreducible complexity”

renders it meaningless as a criticism of evolution. 3:40 (Miller). As Dr. Padian

described it: “Irreducible complexity on its face is a simple statement about a

machine or some kind of structure that has several parts. If you take away one of

those parts, then it stops functioning. Well, any 8-year-old with a broken bicycle

chain knows that he can't ride around anymore with a broken bicycle chain, if that

part is broken it's not going to work. No one's got a Nobel prize for that

proposition. This only makes sense in the context of intelligent design when

irreducible complexity is invoked as a way to assert that no structure could have

evolved by natural means.” 17:44.




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                    69.       In fact, the theory of evolution has a well-recognized, well-

documented explanation for how systems with multiple parts could have evolved

through natural means, namely, exaptation. Exaptation means that some precursor

of the subject system had a different, selectable function before experiencing the

change or addition that resulted in the subject system with its present function.

16:146-48 (Padian). For instance, Dr. Padian identified the evolution of the

mammalian middle ear bones from what had been jawbones as an example of this

process. 17:6-17. The existence of feathers for other purposes in flightless

dinosaurs is another example. 17:131-45. Even Professor Minnich freely admitted

that bacteria living in soil polluted with DNT on an U.S. Air Force base had

evolved a complex, multiple-protein biochemical pathway by exaptation of

proteins with other functions (38:71) (“This entire pathway didn't evolve to

specifically attack this substraight [substrate], all right. There was probably a

modification of two or three enzymes, perhaps cloned in from a different system

that ultimately allowed this to be broken down.”) By defining irreducible

complexity in the way he has, Professor Behe attempts to exclude the phenomenon

of exaptation by definitional fiat. He asserts that evolution could not work by

excluding one important way that evolution is known to work.

                    70.       The National Academy of Sciences has rejected Professor

Behe’s claim for irreducible complexity, using this same reasoning. “[S]tructures


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and processes that are claimed to be “irreducibly” complex typically are not on

closer inspection. For example, it is incorrect to assume that a complex structure or

biochemical process can function only if all its components are present and

functioning as we see them today. Complex biochemical systems can be built up

from simpler systems through natural selection. Thus, the “history” of a protein

can be traced through simpler organisms. Jawless fish have a simpler hemoglobin

than do jawed fish, which in turn have a simpler hemoglobin than mammals. ***

The evolution of complex molecular systems can occur in several ways. Natural

selection can bring together parts of a system for one function at one time and then,

at a later time, recombine those parts with other systems of components to produce

a system that has a different function. Genes can be duplicated, altered, and then

amplified through natural selection. The complex biochemical cascade resulting in

blood clotting has been explained in this fashion.” P192, at 22.

                    71.       Professor Behe has applied irreducible complexity only to a few

select systems: the bacterial flagellum, the blood-clotting cascade and the immune

system. As discussed below, Professor Behe has admitted there are no peer-

reviewed articles arguing for the irreducible complexity of the bacterial flagellum,

the blood-clotting cascade and the immune system, or any other purportedly

irreducibly complex system.




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                    72.       Because it is only a negative argument against evolution,

irreducible complexity, unlike intelligent design, is testable, by showing that there

are intermediate structures, with selectable functions, that could have evolved into

the allegedly irreducibly complex systems. 2:15-16 (Miller). The fact that this

negative argument is testable does not make the argument for intelligent design

testable. 2:15 (Miller); 5:39-39 (Pennock).

                    73.       Dr. Miller presented evidence, based on peer-reviewed studies,

that the biochemical systems claimed to be irreducibly complex by Professor Behe

were in fact not so. 2:21-36.

                    74.       Dr. Miller pointed to peer-reviewed studies that identified a

possible pre-cursor to the bacterial flagellum, a subsystem that was fully

functional, namely, the Type-III Secretory System. 2:8-20; P854.23-854.32. (on

bacterial flagellum). Professor Minnich admits that there is serious scientific

research on the question of whether the bacterial flagellum evolved into the Type-

III Secretory System, the Type-III Secretory System into the bacterial flagellum, or

they both evolved from a common ancestor, and none of this research or thinking

is considering intelligent design. (38:12-16). He testified about this research:

“we’re looking at the function of these systems and how they could have been

derived one from the other. And it’s a legitimate scientific inquiry.” (38:16). He

also testified that “I have no idea in terms of how it came about. I just look at the


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structure. And it has the signature of irreducible complexity and design. It’s a true

rotary engine. I just come back to that. It doesn’t say anything about where it

came from, when it was made, or who was involved in it, or what was involved in

it.” 38:16.

                    75.       Dr. Miller demonstrated that the alleged irreducible complexity

of the blood-clotting cascade has been disproven by peer-reviewed studies going

back to 1969, which showed that dolphins’ and whales’ blood clots despite missing

a part of the cascade, a study that was confirmed by molecular testing in 1998.

1:122-29; P854.17-854.22. More recently, scientists published studies showing

that in puffer fish, blood clots despite the cascade missing not only one, but three

parts. 1:128-29. In sum, scientists in peer-reviewed publications have refuted

Behe’s prediction about the alleged irreducible complexity of the blood-clotting

cascade. Professor Behe tried to elide this compelling evidence by redefining the

blood clotting system. (Behe) 20:26-28. Cross-examination revealed this to be an

argument of convenience designed to avoid peer-reviewed scientific evidence that

falsifies his argument, not a scientifically warranted redefinition. (Behe) 22:112-

125.

                    76.       Dr. Miller also presented peer-reviewed studies refuting

Professor Behe’s claim that the immune system was irreducibly complex. 2:21-36;

P854.33-854.41. Professor Behe wrote in Darwin’s Black Box not only that there


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were no natural explanations at the time, but that in fact natural explanations were

impossible: “As scientists, we yearn to understand how this magnificent

mechanism came to be, but the complexity of the system dooms all Darwinian

explanations to frustration. Sisyphus himself would pity us.” P647, at 139; 2:26-

27 (Miller). Professor Behe argued that scientists should not even bother to

investigate. 2:27 (Miller). However, scientists did not heed Professor Behe’s

admonition, and, between 1996 and 2005, various studies confirmed each element

of the evolutionary hypothesis explaining the origin of the immune system. 2:31

(Miller).

                    77.       On cross-examination Professor Behe was questioned about his

1996 claim that science would never find an evolutionary explanation for the

immune system. He was confronted with the fifty-eight peer-reviewed

publications, nine books and several immunology text-book chapters about the

evolution of the immune system, P256, 280, 281, 283, 747, 748, 755 and 743, and

he insisted that this was still not sufficient evidence of evolution – it was “not good

enough.” 23:19.

                    78.       This evidence demonstrates that the intelligent design argument

depends on setting a burden of proof for the theory of evolution that is

scientifically unreasonable.




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                    79.       As a further example, the test for intelligent design proposed by

both Professors Behe and Minnich is to grow the bacterial flagellum in the

laboratory. P718, 18:125-127. But nobody inside or outside the intelligent-design

movement, including Behe and Minnich, has conducted this test. 22:102-06

(Behe). Professor Behe admitted that the proposed test could not approximate real

world conditions. 22:107-110. And even if it could, it would be merely a test of

evolution, not design, 2:15 (Miller), a point conceded by Professor Minnich. 38:82

(“it’s not a test of ID, it’s a test of evolution”).

                    80.       In summary, Professor Behe’s claim for irreducible complexity

has been refuted in peer-reviewed research papers and has been rejected by the

scientific community. 17:45-46 (Padian); 3:99 (Miller). Moreover, even if

irreducible complexity had not been rejected, it still does not support intelligent

design. 2:15, 2:35-40 (Miller); 28:63-66 (Fuller – ID doesn’t follow logically).

Irreducible complexity is merely a test for evolution, not design. 2:15 (Miller).

                    81.       Defendants’ protestations notwithstanding, the Court finds that

there is no testable, positive argument for intelligent design. Neither Pandas nor

any witness in this trial has proposed a scientific test for design. 2:39 (Miller).

          D.        The “Positive Argument” for Design is Unscientific and Illogical
                    82.       The purportedly positive argument for design, espoused

repeatedly by Professors Behe and Minnich, is encompassed in the phrase,


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“purposeful arrangement of parts.” 18:91 (“I discussed this in my book, Darwin's

Black Box, and a short description of design is shown in this quotation from

Chapter 9. Quote, What is design? Design is simply the purposeful arrangement of

parts. When we perceive that parts have been arranged to fulfill a purpose, that's

when we infer design.”); 19:55 (“the positive argument for it is the purposeful

arrangement of parts, as I have described.”); 19:102 (“…I want to re-emphasize to

say that it is important to keep in mind that the positive inductive argument for

design is in the purposeful arrangement of parts.”).

                    83.       Professor Behe summarized the argument as follows: We infer

design when we see parts that appear to be arranged for a purpose. The strength of

the inference is quantitative; the more parts that are arranged, and the more

intricately they interact, the stronger is our confidence in design. The appearance

of design in aspects of biology is overwhelming. Since nothing other than an

intelligent cause has been demonstrated to be able to yield such a strong

appearance of design, Darwinian claims notwithstanding, the conclusion that the

design seen in life is real design is rationally justified. 18:90-91 (Behe slides, at 7);

18:109-110. See also, 37:50 (Minnich).

                    84.       This is not a new argument, but a restatement of the Reverend

William Paley’s argument applied at the cell level. 1:6-7 (Miller); 38:44, 57

(Minnich). Minnich, Behe and Paley reach the same conclusion that complex


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organisms must have been designed using the same reasoning, except that

Professors Behe and Minnich refuse to identify the designer, whereas Paley

inferred from the presence of design that it was God. Id.

                    85.       This inductive argument is not scientific. 2:40 (Miller). As

Professor Behe admitted, it can never be ruled out. 22:101. See also, 3:99 (Miller).

                    86.       The assertion that design of biological systems can be inferred

from the “purposeful arrangement of parts” is based on an analogy to human

design. According to Professor Behe, because we are able to recognize design of

artifacts and objects, that same reasoning can be employed to determine biological

design. 18:116-17; 23:50.

                    87.       Professor Behe testified that the strength of an analogy depends

on the degree of similarity entailed in the two propositions. 20:69. If this is the

test, intelligent design completely fails.

                    88.       Unlike biological systems, human artifacts do not live and

reproduce over deep time. They are non-replicable; they don’t undergo genetic

recombination; and they are not driven by natural selection. 1:131-33 (Miller);

23:57-59 (Behe). This difference is noted in one of the articles relied upon by

Professor Minnich, rejecting the analogy between machines and biological

systems, because “[m]achines are not made of parts that continually turn over,




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renew. The organism is . . . . the stability of an organism lies in resilience, the

homeostatic capacity to reestablish itself.” D251, at 176.

                    89.       For human artifacts, we know the designer’s identity (human),

the mechanism of design (because we have experience based on empirical

evidence that humans can make such things), and many other attributes such as the

designer’s abilities, needs and desires. Id. 1:131-33 (Miller); 23:63 (Behe) 5:55-

58 (Pennock). With intelligent design, proponents say that they refuse to propose

hypotheses on the designer’s identity, do not propose a mechanism, and he, she, it

(or they) has never been seen. Professor Minnich agreed that in the case of human

artifacts and objects we know who the designer is and what the capacities of

humans are, but that we don’t know any of those attributes for the designer of

biological life. 38:44-47. Professor Behe agreed that for human design we know

the designer and its attributes (needs, desires, abilities, limitations, materials,

technology), 23:61-70; and we have a baseline for human design that does not exist

for design of biological systems, 23:70-73. Professor Behe’s only response to

these insurmountable points of disanalogy was that the inference still works in

science fiction movies. 23:73.

                    90.       Ultimately, the only attribute of design that biological systems

share with human artifacts is their complex appearance -- if it looks complex or

designed, it must have been designed. 23:73 (Behe). Taken to its logical


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conclusion, this “positive” design argument applies to every complicated thing we

see in the universe (tornadoes, the rings of Saturn, the complex ice crystals in

snowflakes, etc.), a result whereby natural explanations could be replaced in every

instance by “design” arguments. But as Professor Behe conceded about the long

discarded geocentric theory, scientific propositions based entirely on appearance

can be very wrong. 19:5-6 (Behe); see also 16:74 (Padian).

                    91.       This inference to design based on the appearance of a

“purposeful arrangement of parts” is a completely subjective proposition,

determined in the eye of each beholder. Both Behe and Minnich asserted that there

is a quantitative aspect to the inference, but on cross-examination admitted there is

no quantitative criteria for determining the degree of complexity or number of

parts that bespeak design, rather than a natural process. 23:50 (Behe); 38:59

(Minnich). In fact, in the entire trial there was only one piece of evidence

generated by defendants that addressed the strength of the intelligent-design

inference: the argument is less plausible to those for whom God’s existence is in

question, and is much less plausible for those who deny God’s existence. Michael

J. Behe, Reply to My Critics, Biology and Philosophy 16:685-709, 2001. P718, at

705.

                    92.       This purported positive argument for intelligent design does not

satisfy the ground rules of science, which require testable hypotheses based on


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natural explanations. 3:101-03 (Miller). Intelligent design relies on forces acting

outside the natural world, forces that we cannot see, replicate, control or test,

which have produced changes in this world. 3:101 (Miller). While such forces

may exist, just as it may be true that God arranged the victory of the Red Sox in the

World Series, they are not testable by science and, therefore, cannot qualify as part

of the scientific process or as a scientific hypothesis or theory. 3:101-02 (Miller).

          E.        Intelligent Design’s Claims Against Evolution are Based on
                    Discredited Science
                    93.       Intelligent design proponents support their argument that

evolutionary theory cannot account for life’s complexity by pointing not only to

real gaps in scientific knowledge – which indisputably exist in all scientific

theories – but also by misrepresenting well-established scientific propositions.

1:112, 1:122, 1:136-37 (Miller); 16:74-79, 17:45-46 (Padian).

                    94.       Before discussing defendants’ claims about evolution in greater

detail, it must be noted that the overwhelming number of scientists, as reflected by

every scientific association that has spoken to the matter, have rejected intelligent-

design proponents’ challenge to evolution. For example, NAS has adopted the

position that:

                              (a)     “Evolution is the central organizing principle that

biologists use to understand the world. To teach biology without explaining



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evolution deprives students of a powerful concept that brings great order and

coherence to our understanding of life.” P194, at 3.

                              (b)     “Those who oppose the teaching of evolution in public

schools sometimes ask that teachers present ‘evidence against evolution.’

However, there is no debate within the scientific community over whether

evolution occurred, and there is no evidence that evolution has not occurred. Some

of the details of how evolution occurs are still being investigated. But scientists

continue to debate only the particular mechanisms that result in evolution, not the

overall accuracy of evolution as the explanation of life’s history.” Id. at 4.

                    95.       Dr. Kenneth Miller, plaintiffs’ expert in biology, explained

evolutionary theory. Dr. Miller is a widely-recognized biology professor at Brown

University. His research focus is cell-biology. P214 (curriculum vitae). He has

written university-level and high-school-biology text books. 1:40-47. Indeed, his

high school text, which was selected for use in Dover, is used by about 35% of the

school districts in the nation. 1:44. He is the former editor of several prominent

cell biology journals, 1:37-38, and serves as the science advisor to the PBS News

Hour and formerly as an advisor to the PBS science program NOVA. P214.

                    96.       Dr. Miller explained that evolution is the process of change

over time. 1:70. It consists of three core propositions. The first is that life in the

past was different from today, and that it indeed has changed over time. 1:71. The


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second is the principle of common descent, which is that living things are united by

common ancestry. Id. The third is that changes over time and common descent

are driven by forces, principles and actions observable in the world today. Id.

There are actually many forces and processes, but they are typically united under

the term “natural selection. Id.

                    97.       Charles Darwin’s contribution to evolution was to propose a

plausible, workable and ultimately testable mechanism for the process that drives

adaptive change over time, and that process is natural selection. 1:72-73.

                    98.       According to Dr. Miller, since Darwin’s time, modern-day

genetics and molecular biology have “provided dramatic confirmation” of

Darwin’s theory. 1:74-75.3


          3
         Dr. Miller gave two examples to show how modern genetics applies to, and
supports, evolutionary theory. Both presentations were based on peer-reviewed
publications. The first involved slides depicting how scientists have been able to
demonstrate that pseudo-gene errors shared by three organisms – gorillas,
chimpanzees and humans – are powerful evidence for common ancestry. 1:77-82;
P854.1-P854.8. Dr. Miller’s second example showed how evolution explained the
fact that humans have 46 chromosomes and the great apes have 48. The
evolutionary explanation, a fusion of two ape chromosomes into one human
chromosome, was tested and verified using DNA sequences from the Human
Genome Project and Chimpanzee Genome Project, and this result is strong
evidence for common descent. 1:82-86; P851.1-P854.8. Dr. Miller also testified
about a just-released peer-reviewed publication, in the prominent scientific journal
Nature, in which the completed mapping of the chimpanzee genome “spectacularly
confirmed” common ancestry. 1:88-90; P643 at 69.




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                    99.       The National Academy of Sciences is in accord with Dr.

Miller’s testimony that 20th-century developments in genetics and molecular

biology actually support evolutionary theory: “The confirmation of Darwin’s ideas

about ‘descent with modification’ by this recent molecular evidence has been one

of the most exciting developments in biology this century.” P194, at 42. The NAS

report continues by saying that, “These molecular studies [referring to the human

genome project] are powerful evidence for evolution.” Id.

                    100. In testimony that was unrebutted, Dr. Miller testified that

evolution, including common descent and natural selection, are “overwhelmingly

accepted” by the scientific community, and that every major scientific association

agrees. 1:94-100. See, e.g., P194, at 16 (NAS, Teaching about Evolution). (“The

concept of evolution through random genetic variation and natural selection makes

sense of what would otherwise be a huge body of unconnected observations. It is

no longer possible to sustain scientifically the view that the living things we see

today did not evolve from earlier forms or that the human species was not

produced by the same evolutionary mechanisms that apply to the rest of the living

world.”)

                    101. Despite the scientific community’s overwhelming support for

evolution, defendants and intelligent-design proponents insist that evolution is

unsupported by empirical evidence. Plaintiffs’ science experts, Drs. Miller and


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Padian, explained how intelligent-design proponents generally, and Pandas

specifically, distort and misrepresent scientific knowledge in making the anti-

evolution argument.

          F.        Of Pandas And People Presents Discredited Science
                    102. Defendants hold out Of Pandas and People as representative of

the intelligent-design argument. The statement read to students expressly asserts

this point: “Of Pandas and People is available for students who might be interested

in gaining an understanding of what intelligent design actually involves.” P124,

131. Plaintiffs’ experts agreed that Pandas is representative of intelligent design.

16:83 (Padian); 1:107-08 (Miller).

                    103. Many of the arguments against evolutionary theory in Of

Pandas and People involve paleontology, which studies the life of the past and the

fossil record. 16:46-47 (Padian).

                    104. Professor Kevin Padian was the only testifying expert witness

with any expertise in paleontology. Dr. Padian’s qualifications are impeccable,

with thirty years of research on the evolution of flight and locomotion in flying

reptiles, publication of nearly one hundred peer-reviewed articles, editorships of

several major scientific publications, curatorship of the Museum of Paleontology at

the University of California at Berkeley, and co-editor and author of the

Encyclopedia of Dinosaurs. 16:42-59 (Padian); P292 (curriculum vitae).


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                    105. None of defendants’ testifying experts have any expertise in

paleontology or the fossil record. 17:16-17 (Padian). Furthermore, there is no

evidence that either defendants’ testifying experts or any other intelligent-design

proponents, including Pandas’ authors, have such expertise since they have not

published peer-reviewed literature or presented at scientific conferences on

paleontology or the fossil record. 17:15-16 (Padian). Professor Behe admitted that

he has no basis to vouch for Pandas’ representation of the fossil record. 21:44-45.

                    106. Therefore, Dr. Padian’s testimony is uncontested.

                    107. Through a series of demonstrative slides prepared based on

peer-reviewed scientific literature, Dr. Padian showed how Of Pandas and People

systematically distorts and misrepresents established and important evolutionary

principles. For instance, Pandas misrepresents the “dominant form of

understanding relationships” between organisms, namely, the tree of life,

represented by classification determined via the method of cladistics. 16:87-97;

demonstrative P855.6-855.19. Pandas also misrepresents “homology,” the

“central concept of comparative biology,” that has for hundreds of years allowed

scientists to compare comparable parts among organisms for classification

purposes. 17:27-40; P855.83-855.102. And Pandas fails to address at all the well-

established biological concept of exaptation, which involves a structure changing

function, like fish fins evolving fingers and bones to become legs for weight-


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bearing land animals, dinosaur forelimbs becoming bird wings, and the front and

back legs of primitive hoofed mammals becoming whale flippers and vestigial

limbs, respectively. 16:146-48. Dr. Padian testified that intelligent-design

proponents do not address exaptation because they deny that organisms change

function, a view necessary to support the abrupt-appearance argument. Id.

                    108. Dr. Padian’s unrebutted testimony also demonstrates that

Pandas distorts and misrepresents evidence in the fossil record about pre-

Cambrian-era fossils, 16:107-17; P855.25-855.33 about the evolution of fish to

amphibians, 16:117-131; P855.34-855.45, the evolution of small carnivorous

dinosaurs into birds, 16:131-45; P855.46-855.55, the evolution of the mammalian

middle ear, 17:6-9 (Padian); P855.56-866.63, and the evolution of whales from

land animals. 17:17-27; P855.64-855.82.

                    109. NAS publications are in agreement that Pandas’ misrepresents

the alleged gaps in the fossil record. In fact, fossil discoveries since Darwin’s time

have confirmed his evolutionary theories: “At the time of Darwin, there were many

unsolved puzzles, including missing links in the fossil record between major

groups of animals. Guided by the central idea of evolution, thousands of scientists

have spent their lives searching for evidence that either supports or conflicts with

the idea. For example, since Darwin’s time, paleontologists have discovered many

ancient organisms that connect major groups – such as Archaeopteryx between


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ancient reptiles and birds, and Ichthyostega between ancient fish and amphibians.

By now, so much evidence has been found that supports the fundamental idea of

biological evolution that its occurrence is no longer questioned in science.” P194,

P39.

                    110. Dr. Miller testified that Pandas’ treatment of biochemical

similarities between organisms is “inaccurate and downright false.” 1:112

(Miller). He explained, through a series of demonstrative slides based on peer-

reviewed publications, how Pandas misrepresents basic molecular biology

concepts to advance the design theory. For example, he testified how Pandas

misinforms readers on the standard evolutionary relationships between different

types of animals, 1:113-17; P854.9-854.16, a distortion Professor Behe affirmed.

23:35-36. Dr. Miller also refuted Pandas’ claim that evolution cannot account for

new genetic information. Dr. Miller pointed to more than three-dozen peer-

reviewed-scientific publications showing the origin of new genetic information by

evolutionary processes. 1:133-36; P245. In sum, Dr. Miller testified that Pandas

misrepresents molecular-biology and genetics principles, and the current state of

scientific knowledge in those areas, in order to teach readers that common descent

and natural selection are not scientifically sound. 1:139-42. For instance, Pandas

reads: “Adherents of intelligent design assume that in the beginning all basic types

of organisms were given a set of genetic instructions that harbored variation but


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were resilient and stable.” P11, at 65; 1:139-40. This is an argument for special

creation that has no support in the scientific literature. 1:140-42.

          G.        Intelligent Design Has Not Produced Peer Reviewed Articles or
                    Research
                    111. In sum, the one textbook to which the Dover policy directs

students contains badly flawed and scientifically refuted science. These flaws

extend to intelligent-design arguments writ large, as discussed in the section on

irreducible complexity, supra.

                    112. Yet another measure of how intelligent design has failed to

demonstrate scientific warrant is the complete absence of peer-reviewed

publications supporting the concept. Peer review is “exquisitely important” in the

scientific process. 1:67 (Miller). Peer review is a way for scientists to write up

their empirical research and to share the work with fellow experts in the field,

opening up the hypotheses to study, testing and criticism. 1:66-69 (Miller). Peer

review helps to ensure that research papers are scientifically accurate, meet the

standards of the scientific method, and are relevant and interesting to other

scientists in the field. 1:39-40 (Miller).

                    113. Peer review involves scientists submitting a manuscript to a

scientific journal in the field. The journal editors will solicit critical reviews from

other experts in the field. These experts decide whether the scientist has followed

proper research procedures, employed up-to-date methods, considered and cited

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relevant literature, inferred or speculated more than appropriate, and, generally,

whether the researcher has employed sound science. The editor collects the

reviewers’ comments and either accepts the submission, indicates changes that

must be made to allow acceptance, or rejects it. More respected journals have high

rejection rates, some as high as 90%. Experts repeatedly testified that the most

respected journals are Nature and Science, and the Proceedings of the National

Academy of Science, with more specialized publications in the various disciplines,

such as Journal of Vertebrate Paleontology and Cell, having smaller circulations

but also commanding wide respect. 16:49-53 (Padian); 1:39-40, 67-69 (Miller).

                    114. Defendants’ expert, Professor Behe, recognizes the importance

to science of the peer review process. 22:25. Behe has written that science must

“publish or perish.” 22:19-21, citing P647, Michael Behe, Darwin’s Black Box,

at 185 (1996). Professor Minnich agreed that it is important to publish in peer-

reviewed journals so scientific peers can evaluate the evidence and conclusions.

38:32.

                    115. Books, even those published by academic presses, are not

subject to the same rigorous peer review that is employed at the most prestigious

scientific journals. 2:3-4 (neither Miller’s book, Finding Darwin’s God, nor

Behe’s Darwin’s Black Box were peer reviewed “by standards of science”), 2:79-

81 (Miller). Despite Professor Behe’s unsupported assertion that Darwin’s Black


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Box was peer-reviewed, plaintiffs undermined this claim on cross examination.

Dr. Behe admitted that the book contained no original research, 22:23, and he had

no explanation for a published statement by one claimed-peer reviewer, Dr.

Atchison, that he never read the book before recommending publication. 22:26-32.

Simply because a scientist publishes a book does not automatically transform the

subject matter into science; it is still a question of how the idea is received by the

scientific community and whether it ultimately is accepted in peer-reviewed

publications. 16:55-56 (Padian).

                    116. Intelligent design is not supported by any peer-reviewed

research, data or publications. Both Doctors Padian and Forrest testified that

recent literature reviews of scientific and medical-electronic databases disclosed no

studies supporting a biological concept of intelligent design. 17:42-43 (Padian);

11:32-33 (Forrest).

                    117. Professor Behe, under cross examination, admitted that, “There

are no peer reviewed articles by anyone advocating for intelligent design supported

by pertinent experiments or calculations which provide detailed rigorous accounts

of how intelligent design of any biological system occurred.” 22:22-23 (Behe).

He also acknowledged that there were no peer-reviewed papers supporting his

claims that complex molecular systems, like the bacterial flagellum, the blood-

clotting cascade and the immune system, were intelligently designed. 21:61-62


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(complex molecular systems), 23:4-5 (immune system), and 22:124-25 (blood-

clotting cascade).

                    118. Similarly, there are no peer-reviewed articles supporting

Professor Behe’s argument that certain complex molecular structures are

“irreducibly complex.” 21:62, 22:124-25. The one article referenced by

Professors Behe and Minnich, as supporting intelligent design, Behe and Snoke,

“Simulating evolution by gene duplication of protein features that require multiple

amino acid residues” Protein Science, P721, does not mention either irreducible

complexity or intelligent design. Professor Behe also admitted that this study did

not rule out many known evolutionary mechanisms and that the research actually

might support evolutionary pathways if a biologically realistic population size

were used. 22:41-55; P756.

                    119. Besides failing to produce papers in peer-reviewed journals,

intelligent design also features no scientific research or testing. 28:114-115

(Fuller); 18:22-23, 105-106 (Behe). Intelligent design is now nearly two-decades

old, and it has produced no scientific research. 17:45 (Padian).

                    120. Because intelligent design has failed to publish in peer-

reviewed journals, engage in research and testing, and gain acceptance in the

scientific community, it cannot be adjudged a valid, accepted scientific theory.




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          H.        Conclusion to Science Section
                    121. The Court concludes that while intelligent design arguments

may be true – a proposition on which the Court takes no position – the theory is not

science. Moreover, because intelligent design is ultimately predicated on a

supernatural creator, the theory is religious, a finding required by the Supreme

Court’s holding in Edwards v. Aguillard.

IV.       THE DOVER SCHOOL BOARD SOUGHT TO PROMOTE
          CREATIONISM IN THE GUISE OF INTELLIGENT DESIGN AND
          DENIGRATE THE SCIENTIFIC THEORY OF EVOLUTION ON
          RELIGIOUS GROUNDS

          A.        The Parties
                    122. Defendant Dover Area School District is a municipal

corporation with a board of directors, which is defendant Dover Area School

District Board of Directors (the “Board”). The Dover Area School District is

comprised of Dover Township, Washington Township, and Dover Borough, all in

York County, Pennsylvania. There are approximately 3,700 students in the School

District, with approximately 1,000 attending Dover High School. Joint

Stipulations of Fact ¶ 3.

                    123. There are nine seats on the Board. The nine members of the

Board in 2004 were Alan Bonsell, William Buckingham, Sheila Harkins, Jane

Cleaver, Heather Geesey, Angie Yingling, Noel Wenrich, Jeff Brown, and Casey

Brown. Casey and Jeff Brown resigned on October 18, 2004, Wenrich and


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Cleaver resigned on October 4, 2004, and Yingling resigned verbally in November

2004 and in writing in February 2004. 34:113 (Harkins); Cleaver Dep. (6/9/05) at

15.

                    124. During 2004, Alan Bonsell was President of the Board. As

President, he appointed William Buckingham Chair of the Board’s Curriculum

Committee. 32:86-87. He also appointed the other members of the Curriculum

Committee: Sheila Harkins and Casey Brown. 32:86-87 (Bonsell); 34:39

(Harkins). As Board President, he also served as an ex officio member of the

Curriculum Committee. 32:116 (Bonsell).

                    125. Plaintiff Tammy J. Kitzmiller is a resident of Dover,

Pennsylvania. Her two children attend the tenth and twelfth grades at Dover Area

High School. 3:112-113. Kitzmiller did not attend any Board meeting until

November 2004. 3:119. She first learned of the biology curriculum controversy

from reading the local newspapers. 3:114-15.

                    126. Plaintiffs Bryan and Christy Rehm are residents of Dover,

Pennsylvania. They have a child in the ninth grade at Dover Area High School, a

child in the third grade and a child in the first grade at schools in the Dover Area

School District, and a child of pre-school age. 4:35-36 (B. Rehm); 6:59-60 (C.

Rehm). Bryan Rehm learned of the biology curriculum controversy by virtue of

being a member of the science faculty at Dover Area High School. 4:39-41.


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Before and after his resignation, he regularly attended Board meetings. 4:41, 63.

(B. Rehm). Christy Rehm learned of the biology curriculum controversy by virtue

of discussions she had with her husband, former Dover science teacher Bryan

Rehm. 6:61 (C. Rehm). She also regularly attended board meetings in 2004.

6:62, 74-75. (C. Rehm).

                    127. Plaintiffs Deborah F. Fenimore and Joel A. Leib are residents

of Dover, Pennsylvania. They are the parents of a child in the eighth grade in the

Dover Area School District and intend to send their child to Dover Area High

School. 17:141-142 (Leib). Leib first learned of a change in the biology

curriculum from reading local newspapers. 17:142-44 (Leib).

                    128. Plaintiff Steven Stough is a resident of Dover, Pennsylvania.

He has a child in the ninth grade in the Dover Area School District. 15:110

(Stough). Stough did not attend any board meetings until December 2004. Prior to

that, he had learned of the biology curriculum change by reading the local

newspapers. 15:112-14.

                    129. Plaintiff Beth A. Eveland is a resident of York, Pennsylvania.

She is the parent of a child in the second grade in the Dover Area School District

and a child of pre-school age and intends to send her children to Dover Area High

School. 6:92-93 (Eveland). Eveland attended her first board meeting on June 14,




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2004. Prior to that, she had learned of the issues relating to the purchase of the

biology books from reading the York Daily Record. 6:24.

                    130. Plaintiff Cynthia Sneath is a resident of Dover, Pennsylvania.

She is a parent of a child in the second grade in the Dover Area School District and

a child of pre-school age. She intends to send her children to Dover Area High

School. 15:75-76 (Sneath). Sneath attended her first board meeting on October

18, 2004. Prior to that, she had learned of the biology curriculum controversy from

reading the local newspapers. 15:77-78.

                    131. Plaintiff Julie Smith is a resident of York, Pennsylvania. She is

a parent of a child in the eleventh grade at Dover Area High School. 6:35

(J. Smith). Smith did not attend a Board meeting in 2004. 6:42-43. She learned of

and followed the biology curriculum controversy by reading the local newspapers.

6:35-38.

                    132. Plaintiffs Aralene (“Barrie”) D. and Frederick B. Callahan are

residents of Dover, Pennsylvania. They are parents of a child in the eleventh grade

at Dover Area High School. 3:123-124 (B. Callahan); 8:103 (F. Callahan).

Aralene Callahan learned of the biology curriculum controversy by virtue of her

status as a former board member and from attending board meetings. 3:132-35,

146. Fred Callahan learned of the biology curriculum controversy by virtue of




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discussions he had with his wife, former school board member, Aralene Callahan,

and from attending board meetings. 8:104-10.

          B.        Bonsell’s and Buckingham’s Personal Religious Beliefs Conflict
                    With the Theory of Evolution
                    133. Bonsell believes in creationism based on the Bible, as a matter

of personal religious belief. 33:54-55 (Bonsell). One aspect of his personal

religious belief in creationism is that species were formed as they now exist. 33:55

(Bonsell). Another aspect of his personal religious belief in creationism is that

species including man do not share common ancestors. 33: 55 (Bonsell). He

believes as part of his personal religious belief in creationism that birds were

formed with their feathers, beaks and wings, that fish were formed with their fins

and scales, and that humans were created in their present form. 33:55-56

(Bonsell). And he also believes as a matter of personal religious belief in

creationism that the earth is not billions of years old but only thousands of years

old. 33:57 (Bonsell). He believes that his personal religious belief in creationism

conflicts with the theory of evolution insofar as it maintains that all living things,

including humans, share common ancestry. 33:57-58 (Bonsell).

                    134. Buckingham believes in a literal reading of the Book of

Genesis. 29:8 (Buckingham). He understands that the theory of evolution teaches

that man and other species evolved from a common ancestor, and that conflicts

with his personal religious beliefs. 29:6 (Buckingham).

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          C.        Beginning in January 2002, Bonsell Repeatedly Expressed an
                    Interest in Injecting Religion Into the Dover Schools
                    135. The Board held a retreat on January 9, 2002, just several weeks

after Bonsell joined the Board. At that meeting, each board member was given

several minutes to identify and discuss any issues of interest to them. 32:69

(Bonsell). According to Superintendent Nilsen’s contemporaneous notes, Bonsell

identified “creationism” as his number one issue. P21. Bonsell identified “school

prayer” as his number two issue. P21. Bonsell does not dispute that he raised

those subjects, although he claims he cannot recall doing so. 32:70 (Bonsell).

Casey Brown testified that she recalled that Bonsell “expressed a desire to look

into bringing prayer and faith back into the schools,” that Bonsell mentioned the

Bible and creationism, and felt “there should be a fair and balanced presentation

within the curriculum.” 7:17-18 (C. Brown).

                    136. Bonsell raised the subject of creationism again at a board retreat

on March 26, 2003. This year, Bonsell again identified “creationism” as one of his

issues of interest, as reflected in P25, Dr. Nilsen’s contemporaneous notes. 35:50-

53 (Baksa). Again, Bonsell does not dispute that he raised that issue, although he

claims that he cannot recall doing so. 32:75 (Bonsell).

                    137. Former board member Jeff Brown testified that he recalled

Bonsell saying at the March 26, 2003 retreat that he felt creationism “belong in

biology class alongside evolution.” 8:50-51 (J. Brown).

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                    138. According to the testimony of plaintiff Aralene “Barrie”

Callahan, at the March 26, 2003 board retreat, Bonsell said that he wanted

creationism taught 50/50 with evolution in biology class. 3:126-27 (B. Callahan).

Callahan located her copy of the agenda for the March 26, 2003 board retreat

(P641), on which she took notes during the meeting. 3:128-30 (B. Callahan). The

notes shows that Bonsell said at that meeting: “50-50 creationism vs. evolution”

and “does not believe in evolution.” 3:127-28.

                    139. Barrie Callahan’s testimony and handwritten notes find

corroboration not only in P25, Nilsen’s contemporaneous note that Bonsell raised

the issue of “creationism,” but also in P26, a memo that Trudy Peterman, then the

principal of Dover High School, sent to Assistant Superintendent Baksa and

Science Department Chair Bertha Spahr with a copy to Superintendent Nilsen on

April 1, 2003. The memo reports that Peterman learned from Spahr that Baksa had

said on March 31, 2003 that an unidentified board member “wanted fifty percent

(50%) of the topic of evolution to involve the teaching of Creationism.”

                    140. Spahr confirmed that she had a conversation with Baksa, as

reported in the Peterman memo (P26), and that Baksa told her that Bonsell wanted

to have creationism share equal time with evolution in the curriculum. 13:72-73

(Spahr).




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                    141. Baksa also confirmed that he had a conversation with Spahr as

reported in the Peterman memo (P26) in which he told her that Bonsell was

looking “for a 50/50 split with Darwin and some alternative.” 35:53-56 (Baksa).

Bonsell is thus without a doubt the unnamed board member referred to in P26.

                    142. The only thing that Baksa does not recall is Bonsell identifying

“creationism” as the subject he wanted to share equal time with evolution. 26:83

(Baksa). In fact, he claims that he cannot recall Bonsell mentioning “creationism”

at any time up until April 1, 2003. 26:83 (Baksa).

                    143. Baksa’s testimony on this point is not credible, for several

reasons.

                              (a)     First, it is clear that Bonsell raised the subject of

creationism by name at the board retreats on January 9, 2002 and March 26, 2003,

because Nilsen wrote it down and Bonsell does not dispute it. 32:70, 73-75

(Bonsell).

                              (b)     Second, Baksa attended the retreat on March 26, 2003,

the evening of the same day he attended a seminar on creationism at Nilsen’s

suggestion. 35:50-51 (Baksa). Yet he claims not to recall Bonsell raising

creationism, even though Nilsen and Callahan recorded it in their notes.

                              (c)     Third, Baksa received the Peterman memo (P26) on or

around April 1, 2003, but he never spoke to either Peterman or Spahr about the


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accuracy of the statement that this unnamed board member wanted creationism to

share equal time in the curriculum with evolution. 35:56-58 (Baksa).

                    144. In addition to raising “creationism” at the board retreats in 2002

and 2003, and stating at the board retreat in 2003 that he wanted evolution to share

equal time in the curriculum with evolution, Bonsell raised the subject of

creationism on numerous other occasions.

                              (a)     When he ran for the Board in 2001, Bonsell told Jeff

Brown he did not believe in evolution and he wanted creationism taught side-by-

side with evolution in biology classes. He also said he felt taking prayer and Bible

reading out of school was a mistake and he wanted it reinstated in the Dover public

schools. 8:48-49 (J. Brown).

                              (b)     Later, Bonsell told Jeff Brown he wanted to be on the

Board Curriculum Committee because he had concerns about the teaching of

evolution and he wanted to see some changes in that area. 8:55 (J. Brown).

                              (c)     Nilsen complained to Jeff Brown that each Board

President had a new set of priorities, and Bonsell had creationism as his priority.

8:53 (J. Brown).

                    145. Given all the evidence that Bonsell repeatedly expressed

interest in creationism, defendants were forced to concede in their opening

statement that Bonsell “had an interest in creationism” and that he “wondered


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whether it could be discussed in the classroom.” (1:19) And yet when pressed

about whether he had a memory of having an interest in creationism, Bonsell could

only say that “[t]hat could be” and “probably.” 33:47-48. His inability to recall

his interest in this subject, despite the admission by his counsel that he had such an

interest, constitutes further proof that he intended to introduce creationism into the

curriculum at Dover High School – particularly given the numerous

inconsistencies in his testimony discussed infra at ¶¶ 271-72, 276-81.

                    146. Bonsell not only wanted prayer in schools and creationism in

science class, he wanted to inject religion into the social studies curriculum.

Bonsell told Baksa that he wanted the students to learn more about the Founding

Fathers. 36:17 (Baksa). Toward that end, Bonsell gave Baksa P179, a book

entitled Myth of Separation by David Barton. 36:14-15 (Baksa).

                    147. One chapter of the book proclaims “We are a Christian Nation.”

36:16 (Baksa); P179, at 47. The last line of that chapter reads: “Our fathers

intended that this nation should be a Christian nation, not because all who lived in

it were Christians, but because it was founded on and would be governed and

guided by Christian principles.” 36:16 (Baksa); P179, at 82. In a chapter titled

“The Solution,” the book states: “We must recall our foundation and former

values and establish in our thinking the conviction that this nation’s institutions

must return to their original foundation -- the principles expressed through the


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Bible.” 36:16 (Baksa); P179, at 260. And as part of that proposed solution, the

book states that “morality acquired only with emphasis from religious principles

must again become an emphasis in education.” 36:17 (Baksa); P179, at 265.

                    148. The book also contains the following statement: “The doctrine

of separation of church and state is absurd; it has been repeated often; and people

have believed it. It is amazing what continually hearing about separation of church

and state can do to a nation.” 36:15-16 (Baksa); P179, at 46.

                    149. The Myth of Separation was the only book Bonsell gave Baksa

about the founding fathers. 36:17 (Baksa).

                    150. In P91, an email to one of the social studies teachers on October

19, 2004, the day after the Board passed the resolution at issue in this case, Baksa

said: “all kidding aside, be careful what you ask for. I’ve been given a copy of the

Myth of Separation by David Barton to review from board members. Social

Studies curriculum is next year. Feel free to borrow my copy to get an idea where

the board is coming from.” 36:14 (Baksa); P91.

          D.        Fall 2003 – Bonsell Confronted the Teachers About Evolution
                    151. Beginning shortly after Baksa took a position with the Dover

Area School District in the fall of 2002, he and Bonsell, then Chair of the Board

Curriculum Committee, had discussions in which Bonsell expressed concern about

the teaching of evolution. 26:62-64 (Baksa); 35:55 (Baksa). At some point before


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March 26, 2003, Baksa gave Bonsell a copy of the biology textbook used at Dover

High School. 26:63 (Baksa). Bonsell expressed concern about the presentation of

Darwin in the textbook. 26:63-64 (Baksa). He felt that Darwin was presented as a

fact, not a theory, and that the textbook overstated the evidence and did not cover

gaps and problems or leave students room to consider other theories. 26:64

(Baksa).

                    152. Bonsell also expressed concern about the accuracy of carbon

dating as proof of the age of the earth, and the concept of speciation. 26:64

(Baksa); 35:62-63 (Baksa). “[M]y understanding is that he had seen a video that

was showing the evolution of a bear into a whale, and he found that improbable or

ludicrous to think that could happen.” 35:63 (Baksa).

                    153. Prior to the fall of 2003, Baksa discussed Bonsell’s concerns

about evolution with the teachers. 35:66 (Baksa). He actually discussed the

subject with the teachers at least two times before Bonsell met with the teachers.

35:66-67 (Baksa). He told them that Bonsell had a problem with the teachers

teaching the origin of life, by which Bonsell meant how species change into other

species, also known as macroevolution and speciation, which are aspects of the

theory of evolution. 35:67-68 (Baksa).

                    154. In the fall of 2003, Bonsell, then the head of the Board

Curriculum Committee, had a meeting with the science teachers. 12:107-08 (J.


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Miller). At the time, Bonsell had a child in the ninth grade at Dover High School

who was scheduled to take biology in the spring. 12:108-09 (J. Miller). The

teachers had been told either by Baksa or Spahr that earlier that year Bonsell had

advocated teaching creationism 50/50 with evolution and that Bonsell believed the

earth to be approximately 10,000 years old. 12:109-10 (J. Miller).

                    155. Baksa arranged for the meeting between Bonsell and the

teachers and he attended the meeting. 35:68 (Baksa). Jennifer Miller, the senior

biology teacher, acted as spokesperson for the teachers at that meeting. 12:110 (J.

Miller). She testified that Bonsell expressed concern about how the teachers taught

evolution. 12:110 (J. Miller). Specifically, he was concerned that the teachers

conveyed something to the students in opposition to what parents presented at

home leaving students with the impression that “somebody is lying.” 12:111 (J.

Miller). Miller explained that the teachers taught evolution as change over time

with emphasis on origin of species, not origin of life. 13:76 (Spahr); 12:111 (J.

Miller). By origin of species, Miller meant “speciation” or the process by which

new species originate from existing species. 12:100 (J. Miller).

                    156. Bonsell and Baksa came away from that meeting with the

understanding that the teachers did not teach “origins of life,” which they took to

mean that the teachers only taught microevolution, or change within species, and

did not teach macroevolution, including common ancestry. 33:114-15 (Bonsell);


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35:68 (Baksa). That information pleased Bonsell because the concept of common

ancestry offends his personal religious belief that God created man and other

species in the forms they now exist and that the earth is only thousands of years

old. 33:54-58, 115 (Bonsell).

                    157. Spahr testified that the teachers left the meeting with Bonsell

feeling that they had answered his questions and concerns. 13:76 (Spahr). Baksa

testified that he felt that the teachers had satisfied Bonsell’s concerns and that there

had been a meeting of the minds. 35:68-69 (Baksa). Bonsell thought the meeting

ended on good terms. 32:83-84 (Bonsell).

                    158. Prior to the fall of 2003, no Dover administrator or board

member had ever met with the biology teachers and questioned how they taught

evolution. 36:75 (Linker).

                    159. Before the meeting with Bonsell in the fall of 2003, Linker

made it his practice to explain in biology class that creationism was based on

“Bibles, religion, [and] Biblical writings,” and that it was illegal to discuss

creationism in public school. 36:83.

                    160. After the meeting with Bonsell, Linker changed his practice by

no longer distinguishing creationism as a separate non-scientific religious theory at

the beginning of the evolution section. 36:82-85. He also stopped using helpful

Discovery Channel videos as teaching aides. 36:82-85. Linker testified that he


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changed his practice because the unusual meeting with board member Bonsell had

alerted him to a controversy surrounding how he taught evolution. 36:84-85.

                    161. Linker also testified that other biology teacher, Jen Miller,

changed her practices of having the students create an evolution time line in the

hallway, which addressed how various species developed over millions of years.

36:86-87.

          E.        Early 2004 – Buckingham Contacted the Discovery Institute
                    162. Sometime before June 2004, Seth Cooper, an attorney with the

Discovery Institute, contacted Buckingham by telephone. 29:133 (Buckingham);

30:9 (Buckingham). The defendants asserted privilege over the substance of that

call and two subsequent calls between the Discovery Institute and Buckingham.

29:138-39 (Buckingham). Buckingham testified that in all of those calls he sought

only legal advice and the Discovery Institute provided only legal advice. 29:133-

143 (Buckingham). During those calls, Buckingham and Cooper discussed the

legalities of teaching intelligent design and the legalities of teaching gaps in

Darwin’s theory. 29:137 (Buckingham).

                    163. After the first call with the Discovery Institute, Buckingham

received a DVD, a videotape, and a book by mail from the Discovery Institute.

29:130-131 (Buckingham). He gave the materials to Nilsen to give to the science

teachers. 29:131 (Buckingham); 25:100-101 (Nilsen); 26:114-115 (Baksa).


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                    164. Sometime late in the 2003-04 school year, Baksa arranged for

the science teachers to watch a video from the Discovery Institute entitled Icons of

Evolution. 4:48-49 (B. Rehm).

                    165. Sometime later, but before the October 18, 2004 board meeting,

two lawyers from the Discovery Institute came and made a legal presentation to the

Board in executive session. 33:111-112 (Bonsell).

          F.        June 2003 to June 2004 – The Board Held Up the Purchase of the
                    Biology Textbook Because of Its Treatment of Evolution
                    166. In June 2003, the Board approved funds for new science

textbooks, including a biology textbook. 3:130 (B. Callahan). Nilsen had placed

textbook purchases on a seven-year cycle and this was the year for the science

textbooks. 3:130 (B. Callahan).

                    167. Although the Board approved the funds, it did not actually

approve the purchase of a biology textbook. 3:130-131 (B. Callahan). Barrie

Callahan repeatedly raised the subject of the approval of the biology textbook

along with some chemistry and consumer science books. 3:131 (B. Callahan);

32:85 (Bonsell). She even made a motion in August 2003 for the approval of these

books, but no other board member seconded it. 3:131 (B. Callahan). Callahan

raised the issue several times after she left the Board in November 2003. 3:132-

133 (B. Callahan).



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                    168. The faculty and administration recommended that the Board

approve the purchase of the 2002 edition of Biology written by Kenneth Miller and

Joseph Levine and published by Prentice Hall. 29:33 (Buckingham).

                    169. Buckingham admitted that, as of June 2004, the Board was

delaying approval of Biology recommended by the faculty and administration

because of the book’s treatment of evolution and the fact that it did not cover any

alternatives to the theory of evolution. 29:33-34 (Buckingham).

          G.        June 2004 Board Meetings – Buckingham and Other Board
                    Members Spoke Out in Favor of Teaching Creationism

                    170. As proof that the defendant Board acted with the purpose of

promoting religion, the plaintiffs introduced evidence that at public board meetings

held on June 7 and 14, 2004, members of the Board spoke openly in favor of

teaching creationism and disparaged the theory of evolution on religious grounds.

                    171. On these important points, the plaintiffs introduced the

testimony of plaintiffs Fred and Barrie Callahan, Bryan and Christy Rehm, Beth

Eveland, former school board members Casey and Jeff Brown and William

Buckingham, teachers Bertha Spahr and Jennifer Miller, and newspaper reporters

Heidi Bernhard-Bubb and Joseph Maldonado. With the exception of Buckingham,

the testimony of these witnesses was credible and convincing.




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                    172. As discussed in detail infra at ¶¶ 271-81 plaintiffs effectively

challenged the credibility of Buckingham as well as defendants’ witnesses Bonsell,

Harkins, Geesey, Cleaver, and Nilsen.

                    173. The plaintiffs also introduced into evidence newspaper articles

on the subject of these meetings by Bernhard-Bubb and Maldonado, published in

The York Dispatch and The York Daily Record in June 2004 (P44/P8044,

P45/P805, P46/P790, P47/P791, P51/P792, P53/P793, P54/P806, and P55), a

television news clip from channel Fox 43 (P145), a letter to the editor from

plaintiff Beth Eveland published in The York Sunday News (P56), and a response

to Eveland’s letter by board member Geesey also published in The York Sunday

News (P60). These documents corroborate the testimony of plaintiffs’ witnesses

and impeach the credibility of Buckingham, Bonsell, Harkins, Nilsen, Geesey, and

Cleaver.

                    174. Plaintiffs also rely on testimony they developed in cross

examination of defendants’ witnesses, most particularly Assistant Superintendent

Baksa, who testified that Buckingham spoke about creationism at the June 7 board

meeting. 35:77-78 (Baksa).

          4
        Two exhibit numbers separated by a slash indicates that Plaintiffs
introduced different formats of the same article under different exhibit numbers.
For example, P44 is a copy of an article printed off of a computer and P804 is a
photocopy of the article as it appeared in the printed newspaper.


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                    175. Plaintiffs proved the following about the board meeting on

June 7, 2004:

                              (a)     Approval of several science textbooks appeared on the

agenda for the meeting, but not approval of the biology textbook. P42, at 8-9.

                              (b)     Barrie Callahan asked whether the Board would approve

the purchase of the 2002 edition of Biology by Miller and Levine. Buckingham

told Callahan that the book was “laced with Darwinism” and he spoke in favor of

purchasing a textbook that included a balance of creationism and evolution. P46/

P790; 35:76-78 (Baksa); 24:45-46 (Nilsen); 3:135-36 (B. Callahan); 4:51-52 (B.

Rehm); 6:62-63 (C. Rehm); 7:25-26 (C. Brown). Buckingham admitted as much.

29:36, 45-46 (Buckingham).

                              (c)     Buckingham said the Board Curriculum Committee

would look for a book that presented a balance between creationism and evolution.

P45/P805; 30:96 (Bernhard-Bubb); P46/P790; 31:59-60 (Maldonado).

                              (d)     Bonsell said that there were only two theories that could

possibly be taught (creationism and evolution) and as long as both were taught as

theories there would be no problems for the district. P46/P790; 6:65 (C. Rehm);

                              (e)     Buckingham spoke in favor of having a biology book that

included creationism. P47/P791; 8:60-61 (J. Brown); 7:33 (C. Brown); 3:137-138

(B. Callahan); 30:89-90, 105-06, 110-11 (Bernhard-Bubb); 31:60, 66 (Maldonado).


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                              (f)     Wenrich spoke in favor of having a biology book that

included creationism. P47/P791; 8:60 (J. Brown); 7:33 (C. Brown); 30:89-90, 105-

06, 110-11 (Bernhard-Bubb); 31:66 (Maldonado).

                              (g)     Bonsell spoke in favor of having a biology book that

included creationism. P47/P791; 8:60 (J. Brown); 7:33 (C. Brown); 3:137-38 (B.

Callahan); 30:89-90, 105-06, 110-11 (Bernhard-Bubb); 31:66 (Maldonado).

                              (h)     Superintendent Nilsen said that the district was looking

for a textbook that presented “all options and theories.” P44. He never challenged

the accuracy of that quotation. 25:119-20 (Nilsen).

                              (i)     Buckingham said that separation of church and state is a

myth and not something he supports. P44/P804; P47/P791. 3:141-42 (B.

Callahan); 7:32-33 (C. Brown); 31:66-67 (Maldonado). Buckingham admitted that

he said this. 29:35-36 (Buckingham).

                              (j)     Buckingham said: “It is inexcusable to have a book that

says man descended from apes with nothing to counterbalance it.” P44/P804;

30:77-78 (Bernhard-Bubb).

                              (k)     After the meeting, Buckingham said: “This country

wasn’t founded on Muslim beliefs or evolution. This country was founded on

Christianity and our students should be taught as such.” P46/P790; 31:63

(Maldonado).


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                    176. Plaintiffs proved the following about the board meeting on June

14, 2004:

                              (a)     The subject of the biology textbook did not appear on the

agenda of this meeting, but members of the public made comments and the Board

continued to debate the subject of the biology textbook;

                              (b)     Buckingham’s wife Charlotte set the tone for the meeting

during the public comment section when she gave a speech in which she said

“evolution teaches nothing but lies,” quoted from Genesis, asked “how can we

allow anything else to be taught in our schools,” recited gospel verses telling

people to become born again Christians, and stated that evolution violated the

teachings of the Bible. P53/P793; 4:55-56 (B. Rehm); 6:71 (C. Rehm); 7:34-35 (C.

Brown); 8:104-05 (F. Callahan); 8:63 (J. Brown); 30:107-08 (Bernhard-Bubb);

31:76-77 (Maldonado); 33:37-43 (Bonsell); 29:82-83 (Buckingham); 12:125 (J.

Miller); 13:84 (Spahr). At her deposition, Charlotte Buckingham admitted that she

made a speech at the June 14 board meeting arguing that creationism as set forth in

Genesis should be taught in Dover High School and that she read quotations from

scripture as part of her speech. C. Buckingham Dep. (4/15/05) at 19-22.

                              (c)     During Charlotte Buckingham’s religious speech, board

members William Buckingham and Geesey said “amen.” 7:35 (C. Brown).




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                              (d)     William Buckingham stood by his opposition to the 2002

edition of Biology by Miller and Levine. P54/P806.

                              (e)     Bonsell and Wenrich said that they agreed with William

Buckingham that creationism should be taught to balance evolution. P806/P54;

                              (f)     William Buckingham said: “Nowhere in the Constitution

does it call for a separation of church and state.” P793/P53; 31:74 (Maldonado);

12:126 (J. Miller); 13:85 (Spahr).

                              (g)     William Buckingham said this country was founded on

Christianity. P806/P54; 12:126 (J. Miller); 13:85 (Spahr); 30:106 (Bernhard-

Bubb).

                              (h)     William Buckingham said “I challenge you (the

audience) to trace your roots to the monkey you came from.” P793/P53; 31:76

(Maldonado). Buckingham admitted that he said this. 29:71 (Buckingham).

                              (i)     William Buckingham said that while growing up his

generation read from the Bible and prayed during school. P793/P53; 31:75

(Maldonado).

                              (j)     William Buckingham said “liberals in black robes” were

“taking away the rights of Christians.” P793/P53; 35:81-82 (Baksa); 6:73 (C.

Rehm); 31:75 (Maldonado).




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                              (k)     William Buckingham said words to the effect of “2,000

years ago someone died on a cross. Can’t someone take a stand for him?” or

“Nearly 2,000 years ago someone died on a cross for us; shouldn’t we have the

courage to stand up for him?” P793/P53; P806/P54; 4:54-55 (B. Rehm); 6:73 (C.

Rehm); 6:96 (Eveland); 7:26-27 (C. Brown); 8:63 (J. Brown); 8:105-06 (F.

Callahan); 30:105, 107 (Bernhard-Bubb); 31:75, 78-79 (Maldonado); 12:126 (J.

Miller); 13:85 (Spahr).

                    177. Buckingham, Bonsell, and other witnesses for defendants

denied the reports in the news media and contradicted the great weight of the

evidence about what happened at the June board meetings. As explained infra

¶¶ 271-81, the record shows that these witnesses contradicted themselves in

important respects, in several cases lied outright, and should not be believed.

          H.        June 2004 Curriculum Committee Meeting – Creationism
                    Morphed Into Intelligent Design
                    178. The Board Curriculum Committee met with the teachers near

the end of the school year in June 2004, very soon after the board meetings on June

7 and 14. 12:114 (J. Miller); 35:82 (Baksa). The purpose of the meeting was to

discuss P132, a list of Buckingham’s concerns about the textbook Biology.

12:114-15 (J. Miller). At a previous meeting in May 2004, the teachers had

recommended that the Board purchase the 2002 edition of Biology. 26:118



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(Baksa). Prior to the June meeting, the Science Department provided Buckingham

with a copy of the teacher’s edition of Biology for him to review. 13:80 (Spahr).

                    179. All of Buckingham’s concerns about the textbook Biology

related to the theory of evolution. 7:45 (C. Brown). Buckingham objected to a

standard timeline in the book because it listed Darwin’s first publication of his

findings in 1859 but did not mention creationism or God. 7:45-47. He objected to

the reference to a species of finch known as Darwin’s finch simply because it

refers to Darwin. 7:47-48. He objected to the textbook because it did not give

“balanced presentation,” by which he meant that it did not include the “theory of

creationism with God as creator of all life.” 7:48.

                    180. At the June meeting, Bertha Spahr asked Buckingham where he

had gotten a picture of the evolution mural that had been destroyed in 2002 by

Larry Reeser, the head of buildings and grounds for the Dover Area School

District. 13:82-83 (Spahr); 12:115-18 (J. Miller). According to Jennifer Miller,

Buckingham responded: “I gleefully watched it burn.” 12:118 (J. Miller).

According to Casey Brown, Buckingham expressed sympathy with Reeser’s

actions. 7:51 (C. Brown). Buckingham disliked the mural because he thought it

advocated the theory of evolution, particularly common ancestry. 26:120 (Baksa).

                    181. Most of the meeting centered around Buckingham’s concern

that the teachers were teaching what he referred to as “origins of life,” which for


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him apparently includes origin of species and common ancestry of man and other

species. 12:118 (J. Miller). Bertha Spahr testified that, at one point in the meeting,

she said to Buckingham: “If you say man and monkey one more time in the same

sentence, I’m going to scream.” 14:15 (Spahr). Jennifer Miller, the senior biology

teach, reiterated what she had explained to Bonsell in the fall of 2003 – that the

teachers did not address origins of life but they did address the origin of species.

12:120 (J. Miller).

                    182. At the meeting, Baksa provided those in attendance with copies

of P138, a survey of biology books used in private religious schools in York

County. 12:122 (J. Miller). He explained his reason for collecting this information

as follows: “I went out and looked for other organizations to look at other

textbooks that might have a different treatment of Darwin that would be more

acceptable to the board curriculum committee.” 26:118-19 (Baksa).

                    183. Baksa also provided those in attendance at the meeting with

copies of P136, a product profile of a biology textbook used at Bob Jones

University. 12:120-121 (J. Miller).

                    184. Baksa also provided those in attendance at the meeting with

copies of P149, a document entitled “Beyond the Evolution vs. Creation Debate.”

12:124 (J. Miller). Both Sheila Harkins and Casey Brown acknowledged having

received P149 at some point, although they had different memories of when that


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occurred. 34:46-50 (Harkins); 7:60-61, 64-66, 69 (C. Brown). The second page of

this document is entitled “Views on the Origin of the Universe and Life.” It

explains the difference between “Young Earth Creationism (Creation Science),”

“Progressive Creationism (Old Earth Creation),” “Evolutionary Creation (Theistic

Creation),” “Deistic Evolution (‘Theistic Evolution’),” and “Dysteleological

Evolution (Atheistic Evolution).” Under each of these categories, it lists examples.

The example given under Progressive Creation (Old Earth Creation) is “Intelligent

Design Movement, Phillip Johnson, Michael Behe.” P149. As a result, the Board

Curriculum Committee knew that intelligent design is a form of creationism,

which, according to statements at the June meetings, is what they wanted to teach.

                    185. P149 is proof that not only did the Board Curriculum

Committee know that intelligent design is religious, but they also knew it is

sectarian, because P149 shows the different interpretations of Genesis and different

theologies and philosophies underlying the various categories of views on the

origin of the universe and life. For example, P149 shows that, as regards the

Books of Genesis, Young Earth Creation is associated with “Strict Literalism” and

Progressive Creation (including intelligent design) is associated with “General

Literalism” while Evolutionary Creation (including Roman Catholicism) is not

associated with a literal reading of the Books of Genesis.




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                    186. At the meeting, Buckingham sought assurance from the

teachers that they were only teaching evolutionary changes within species and

were not teaching origin of life, by which he means common ancestry, speciation,

and macroevolution. 26:121 (Baksa). The teachers had already watched the video

Icons of Evolution that Buckingham received from the Discovery Institute, but at

Buckingham’s insistence they agreed to review it again and consider using in class

any parts from that video that aligned with their curriculum. 26:122 (Baksa).

Baksa believed that the teachers had already determined that there were no parts of

the video that would be appropriate to use in class, and that they agreed to

Buckingham’s condition so that he would approve the purchase of the Miller and

Levine textbook Biology that the students needed. 35:93-94 (Baksa).

                    187. Buckingham also demanded that the teachers agree that there

would never again be a mural depicting evolution in any of the classrooms. 36:56-

57 (Baksa). In exchange, Buckingham had suggested that he would agree to

support the purchase of the biology textbook the students needed. 36:57.

                    188. According to Baksa, there was some mention of the words

intelligent design at this meeting, but he cannot recall who raised the subject.

35:96-97 (Baksa). The meeting took place after the Discovery Institute first made

contact with Buckingham, but Baksa cannot recall having received any materials

about intelligent design by this time. 35:97. At the time, he knew nothing about


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intelligent design and to the best of his knowledge no one else at the meeting knew

anything about it either. 35:97-98. To the best of his knowledge at the time,

“intelligent design” amounted to nothing more two words replacing the word

“creationism” used by Buckingham at a board meeting earlier that month. 35:98.

          I.        Board Member Geesey Published a Letter to the York Sunday
                    News Advocating the Teaching of Creationism
                    189. On June 20, 2004, plaintiff Eveland published P56, a letter to

the editor of the York Sunday News. She wrote the letter in response to P46, an

article from the York Daily Record dated June 9, 2004. 6:96-98 (Eveland). In her

letter, Eveland wrote:

                    In partnership with family and community to educate
                    students, we emphasize sound, basic skills and nurture
                    the diverse needs of our students as they strive to become
                    lifelong learners and contributing members of our global
                    society. What a slap in the face to many of the parents
                    and taxpayers of the Dover area. How sad that a member
                    of our own school board would be so closed-minded and
                    not want to carry on the mission of Dover schools.

                    His ignorance will not only hold back children attending
                    Dover area schools, but also reinforce other
                    communities’ views that Dover is a backwards, close-
                    minded community. If it was simply a matter of
                    selecting a text that gives two contradicting scientific
                    theories equal time, that would be an entirely different
                    matter, but it’s not. Creationism is religion, plain and
                    simple.

                    Mr. Buckingham’s comments offend me, not because
                    they are religious in nature, but because it is my duty to
                    teach my children about religion as I see fit, not the
                    Dover Area School District during a biology class.

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P56; 6:98-100 (Eveland).
                    190. In response, board member Geesey published the following

letter, P60, in the June 27, 2004 York Daily Record:

                    This letter is in regard to the comments made by Beth
                    Eveland from York Township in the June 20 York
                    Sunday News. I assure you that the Dover Area School
                    Board is not going against its mission statement. In fact,
                    if you read the statement, it says to educate our students
                    so that they can be contributing members of society.

                    I do not believe in teaching revisionist history. Our
                    country was founded on Christian beliefs and principles.
                    We are not looking for a book that is teaching students
                    that this is a wrong thing or a right thing. It is just a fact.
                    All we are trying to accomplish with this task is to
                    choose a biology book that teaches the most prevalent
                    theories.

                    The definition of ‘theory’ is merely a speculative or an
                    ideal circumstance. To present only one theory or to give
                    one option would be directly contradicting our mission
                    statement. You can teach creationism without it being
                    Christianity. It can be presented as a higher power. That
                    is where another part of Dover’s mission statement
                    comes into play. That part would be in partnership with
                    family and community. You as a parent can teach your
                    child your family’s ideology.

6:104-105 (Eveland).

          J.        July 2004 – Buckingham Contacted Rchard Thompson of the
                    Thomas More Law Center and Learned about the Creationist
                    Textbook Of Pandas and People
                    191. Sometime before late July 2004, Buckingham contacted

Thomas More Law Center (“TMLC”) and spoke with Richard Thompson. 30:10-



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12 (Buckingham). Buckingham contacted TMLC for the purpose of seeking legal

advice and never received anything but legal advice; on that basis defendants’

counsel asserted privilege over all communications between Buckingham and

TMLC. 30:17-18.

                    192. In one of the early conversations between Buckingham and

TMLC, Thompson told Buckingham that TMLC would represent the Board if it

needed legal assistance and Buckingham accepted on behalf of the Board, although

later after the litigation commenced the Board formally engaged TMLC as its

counsel. 30:15-16.

                    193. Buckingham and the Board first learned of the creationist

textbook Of Pandas and People from Richard Thompson sometime before late

July 2004. 29:107-08; 30:10-12 (Buckingham).

                    194. Bonsell confirmed in testimony that the passage on pages 99 to

100 of Pandas (“Intelligent design means that various forms of life began abruptly

through an intelligent agency, with their distinctive features already intact, fish

with fins and scales, birds with feathers, beaks, and wings, etc.”) is very similar to

one aspect of creationism. 33:64. A young earth creationist himself, Bonsell also

confirmed in testimony that a passage from Pandas that questions the notion of

common descent, which is consistent with his personal religious belief. 33:54-56,

66-67.


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          K.        July 2004 – The Teachers and Baksa Reviewed the Sections of the
                    2004 Edition of Biology that Dealt With Evolution in Response to
                    the Board’s Concerns
                    195. In July 2004, the teachers discovered that there was a 2004

edition of Biology available. 12:127 (J. Miller); 13:30 (Spahr). The Board at its

meeting on July 12, 2004 agreed to defer consideration of purchasing a new

textbook until it could review this textbook. 12:127 (J. Miller).

                    196. That same month, Spahr, Miller, and Baksa met to review the

2004 edition of Biology. 12:127 (J. Miller). Together they read the sections on

evolution, compared them to the same sections in the 2002 edition, and created

P150, a document showing the differences between the two editions with respect to

evolution. 12:127-29 (J. Miller).

          L.        August 2004 – Buckingham and Others Tried to Prevent
                    Purchase of the Standard Biology Textbook
                    197. The Board met on Monday, August 2, 2004. One of the items

on the agenda for the meeting was approval of the purchase of the 2004 edition of

Biology. 8:64 (J. Brown).

                    198. A few days prior to the August 2, 2004 meeting, Casey Brown

received a call from Assistant Superintendent Baksa, who told her that

Buckingham had a book called Of Pandas and People that he recommended the

school district purchase as a supplemental textbook. 7:52-53 (C. Brown); 8:64 (J.

Brown).

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                    199.       Jeff Brown went to Harkins’ home to pick up a copy of

Pandas. 8:65. She told him that she wanted the school district to purchase the

book. 8:66. He said: “Sheila, you don’t even want to buy the books that we’re

supposed to buy, why do you want to buy this book that we don’t even need and

the state is not requiring us to buy.” 8:66 (J. Brown). She told him that “this book

was such an eye opening thing about what’s wrong with evolution and so on and so

forth.” 8:67. Brown responded that “with all the statements that Bill has made that

have been in the press and have actually gone wire service, I said, if we even touch

the subject we’re going to end up in court. And she remained adamant.” 8:67.

                    200. At the board meeting four days later, Buckingham opposed the

purchase of Biology, which was recommended by the faculty and administration

unless the Board also approved the purchase of Pandas as a companion text. Only

eight members of the Board were present on August 2, 2004 (Cleaver was in

Florida) and the initial vote to approve the purchase of Pandas failed to pass on a

four to four vote, with Buckingham, Harkins, Geesey, and Yingling voting against

it. 8:68 (J. Brown); 29:105-06 (Buckingham); P67.

                    201. Buckingham stated that he had five votes in favor of purchasing

Pandas, and that if the Board approved the purchase of Pandas, he would release

his votes to also approve the purchase of Biology. 8:68-69 (J. Brown). Yingling

then changed her vote, and the motion to approve the purchase of Biology passed.


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P67; 8:69. At trial, Buckingham admitted that at the meeting he said “if he didn’t

get his book, the district would not get the biology book.” 29:106 (Buckingham).

                    202. This email is additional evidence that the Board knew that

intelligent design is a form of creationism.

          M.        August 26, 2004 – The Board’s Solicitor Warned the Board That
                    It Could Lose a Lawsuit If It Pushes Intelligent Design
                    Creationism
                    203. On August 26, 2004, the Board Solicitor sent an email to

Superintendent Nilsen that stated, among other things, the following:

                    Today, I talked to Richard Thompson, President and
                    Chief Counsel for the Thomas More Law Center. . . .
                    They refer to the creationism issue as “intelligent
                    design”. . . . They have background knowledge and have
                    talked to school boards in West Virginia and Michigan
                    about possible litigation. However, nothing has come
                    about in either state. This suggests to me that no one is
                    adopting the textbook because, if they were, one can
                    safely assume there would have been a legal challenge by
                    someone somewhere. . . . I know that we have given an
                    opinion on this matter on more than one occasion. I
                    guess my main concern at the moment, is that even if use
                    of the text is purely voluntary, this may still make it very
                    difficult to win a case. I say this because one of the
                    common themes in some of the US Supreme Court
                    decision, especially dealing with silent meditation, is that
                    even though something is voluntary, it still causes a
                    problem because the practice, whatever it may be, was
                    initiated for religious reasons. One of the best examples
                    comes out of the silent meditation cases in Alabama
                    which the court struck down because the record showed
                    that the statute in question was enacted for religious
                    reasons. My concern for Dover is that in the last several
                    years there has been a lot of discussion, news print, etc.

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                    for putting religion back in the schools. In my mind this
                    would add weight to a lawsuit seeking to enjoin whatever
                    the practice might be.

P70 (emphasis added).

                    204. Nilsen shared this email with everyone present at the Board

Curriculum Committee meeting on August 30, 2004, including Buckingham,

Bonsell, and Harkins. 25:135-36 (Nilsen).

                    205. Nilsen and Baksa both admitted that they knew the email

referred to the news reports of the June 2004 board meetings. 25:135-36, 138-39

(Nilsen); 35:105-06, 111-12 (Baksa).

                    206. This email is additional evidence that the Board knew that

intelligent design is a form of creationism.

          N.        August 30, 2004 – The Board Curriculum Committee Forced
                    Pandas on the Teachers as a Reference Text
                    207. The Board Curriculum Committee met on August 30, 2004

with Spahr, Miller, Nilsen, Baksa, Bonsell, Buckingham, Harkins, and Casey

Brown. 12:133-34 (J. Miller). The principal subject discussed at the meeting was

Of Pandas and People and how it would be used in the classroom. 12:134 (J.

Miller). Spahr expressed concern that the textbook taught intelligent design and

that intelligent design amounted to creationism. 12:135 (J. Miller). Buckingham

wanted Pandas used in the classroom as a comparison text side by side with the

standard biology textbook. 29:104-05 (Buckingham). The teachers strongly

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opposed using Pandas as a companion text. 29:111 (Buckingham). As a

compromise to the Board, however, the teachers agreed that Pandas could be

placed in the classroom as a reference text. 12:136 (J. Miller); 13:88 (Spahr).

They thought that if they compromised with the Board, “maybe this will go away

again.” 12:136 (J. Miller). There was no discussion at the meeting about any

change to the curriculum. 12:136 (J. Miller); 13:88 (Spahr).

                    208. Although the teachers agreed to accept Pandas as a reference

text in the classrooms, they clearly did so only as a compromise in consideration

for receiving Biology. 35:119-120 (Baksa). Baksa testified that no one could

construe the teachers as having supported Pandas in any way, either as a reference

text or otherwise. 35:120.

                    209. Baksa testified on direct examination that during this time

period he did research on Pandas and intelligent design. Among other things, he

directed his secretary to go to the webpage from the Institute for Creation Research

to get information about Pandas. 35:113-14 (Baksa); D35. That webpage states

that Pandas “contains interpretations of classic evidences in harmony with the

creation model.” 35:114-15 (Baksa). He was asked “that was information you

were aware of as you researched Pandas?” And he answered “yes.” 35:115

(Baksa). Baksa then contradicted this testimony on re-direct and stated that he had

never read the webpage. 36:45 (Baksa). This contradiction came after Baksa


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conferred with his counsel the previous evening – while still subject to cross

examination – about the testimony he would give.

          O.        Bonsell and Buckingham Secretly Arranged for Sixty Copies of
                    Pandas to be Donated to the High School
                    210. The October 4, 2004 board meeting agenda noted that

Superintendent Nilsen had accepted a donation of 60 copies of Pandas. P78 at 9.

There is no evidence that Bonsell or Buckingham or anyone else with knowledge

of that donation disclosed the source of the donation at any time until it came out

in litigation.

                    211. At a board meeting in November 2004, former board member

Larry Snook asked about the source of the donation of Pandas. 30:47

(Buckingham); 33:30 (Bonsell). Neither Bonsell, Buckingham, or anyone else

provided any information about the source of the donation. 30:47-48

(Buckingham); 33:30-31 (Bonsell).

                    212. At their depositions on January 3, 2005, which were taken

pursuant to Court Order so that plaintiffs could decide whether to seek a temporary

restraining order, plaintiffs’ counsel asked both Buckingham and Bonsell about the

source of the donation of Pandas. 30:50-56 (Buckingham); 33:31-35 (Bonsell).

Neither Buckingham nor Bonsell provided any information about Buckingham’s

involvement in the donation or about a collection he took at his church. 30:50-56

(Buckingham); 33:31-35 (Bonsell).

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                    213. In fact, Buckingham made a plea for donations to purchase

Pandas at his church, the Harmony Grove Community Church, on a Sunday before

services. 30:38-40 (Buckingham). And the people at his church donated $850.

30:40.

                    214. P80 is a check made out to Donald Bonsell drawn on

Buckingham’s account, jointly held with his wife in the amount of $850 with the

notation Of Pandas and People. 30:46-47. Donald Bonsell is Alan Bonsell’s

father. 30:47. Buckingham gave the check to Alan Bonsell to give to his father.

30:47. Alan Bonsell admitted that Buckingham gave him a check for the purpose

of buying the books. 33:29-30 (Bonsell).

                    215. Alan Bonsell gave the money to Donald Bonsell, who

purchased the books. 33:131-32 (Bonsell).

                    216. Bertha Spahr received the shipment of books, unpacked the

box, and discovered P144, a catalogue from the company that sold the books.

13:94 (Spahr). The catalogue lists Pandas under “Creation Science.” 13:94-95

(Spahr); P144 at 29.

                    217. Bonsell testified that his father served as the conduit for the

funds from Buckingham’s church because: “He agreed to – he said that he would

take it, I guess, off the table or whatever, because of seeing what was going on, and

with Mrs. Callahan complaining at the Board meeting not using funds or


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whatever.” 33:129 (Bonsell). In other words, they were trying to hide the source

of the funds.

                    218. Clearly, Buckingham and Bonsell tried to hide the source of the

donations because they knew that it showed, at the very least, that they had taken

extraordinary measures to ensure that students received a creationist alternative to

Darwin’s theory of evolution. As discussed infra at ¶ 271, both Buckingham and

Bonsell failed to tell the truth about the subject of their depositions on January 3,

2005, which provides further compelling evidence that these two board members

sought to conceal their blatantly religious purpose.

          P.        October 7, 2004 – The Board Curriculum Committee Drafted the
                    Curriculum Change Without the Teachers Present to Object
                    219. In September 2004, acting on the instructions of the Board,

Baksa prepared a change to the biology curriculum, which stated: “Students will be

made aware of gaps in Darwin’s theory and of other theories of evolution.” P73;

35:122 (Baksa). The draft curriculum change listed no reference text. P73. Baksa

initiated these changes on assignment from the Board. 35:123-24 (Baksa). There

is no evidence in the record that the Board asked him to initiate the changes to

improve science education in the Dover schools. The teachers clearly did not

initiate these changes. 35:123. As with the Pandas donation, the teachers

reluctantly acquiesced to a request initiated by the Board. 35:119 (Baksa).



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                    220. On October 7, 2004, the Board Curriculum Committee met to

discuss changing the biology curriculum. 35:124 (Baksa). The science teachers

were not invited. 35:124 (Baksa). Casey Brown had an appointment with an eye

surgeon and could not make the meeting, leaving Buckingham, Bonsell, and

Harkins as the only board members present with Baksa. At the meeting, the

participants discussed P81, a document showing various positions regarding the

proposed curriculum change. 35:125 (Baksa); 29:113 (Buckingham). P82 is the

same document, but with Bonsell’s handwritten change to one of the alternatives.

29:113 (Buckingham).

                    221. Ultimately, the Board Curriculum Committee adopted Bonsell’s

alternative, with the handwritten change: “Students will be made aware of

gaps/problems in Darwin’s theory and of other theories of evolution, including but

not limited to intelligent design.” P82; 35:125 (Baksa). The Board Curriculum

Committee’s proposed change also called for Pandas to be cited as a reference

text. P82. Bonsell, Buckingham, and Harkins reached agreement on the

curriculum change in a matter of minutes. 35:125 (Baksa).

                    222. As of October 7, 2005, Buckingham thought all the board

members except the Browns would support the proposed curriculum change.

29:113-17 (Buckingham). Only later did he learn that Wenrich did not support the




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change because of his concern that the Board disregarded the expertise and

opinions of the science teachers. 29:125-27 (Buckingham).

                    223. The curriculum change proposed by the Board Curriculum

Committee along with the change proposed by administration and accepted by the

science faculty, were circulated to the full Board by memoranda dated October 13,

2004. P84A; P84B.

          Q.        October 18, 2004 – The Board Forced the Curriculum Change
                    224. On October 18, 2004, the Board passed by a 6-3 vote a

resolution that amended the biology curriculum as follows:

                    Students will be made aware of gaps/problems in
                    Darwin’s theory and of other theories of evolution
                    including, but not limited to, intelligent design. Note:
                    Origins of Life is not taught.

The board resolution also called for this subject to be covered in lecture format

with Of Pandas and People as a reference book. 7:89-90 (C. Brown); P88; P209 at

1646; P84C.

                    225. Bonsell, Harkins, Buckingham, Geesey, Cleaver, and Yingling

voted for the resolution. Noel Wenrich and Casey and Jeff Brown voted against

the resolution. 7:89-90 (C. Brown); P88.

                    226. In passing the resolution, the Board deviated from its regular

practice in important respects.




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                              (a)     Typically, the Board addressed curriculum changes an

entire year in advance of implementation. 7:78-79 (C. Brown). The change to the

biology curriculum was brought up during the 2004-05 school year to be effective

that year: “The normal procedures were not followed at all in making this change.”

7:79 (C. Brown).

                              (b)     Standard board practice called for two meetings a month,

a planning meeting followed by an action meeting, with items for consideration to

be listed on the agenda for discussion at the planning meeting before listing them

for resolution on the agenda at the action meeting later in the month. 7:24-25 (C.

Brown). The change to the biology curriculum was placed on the Board’s agenda

for the first time during an action meeting; a number of witnesses recognized this

as irregular. 26:11 (Nilsen); 4:3-5 (B. Callahan); 7:77-78 (C. Brown); 29:118

(Buckingham).

                              (c)     Board practice also called for the District Curriculum

Committee to meet to discuss the change. 7:72-73 (C. Brown). Superintendent

Nilsen suggested that the District Curriculum Committee meet to discuss the

proposed change, but the Board overruled that suggestion. 7:73 (C. Brown); 26:8-

10 (Nilsen). This represented a deviation from the Board’s standard practice.

25:73-76, 26:8-10 (Nilsen); 7:10-11 (C. Brown); 29:124 (Buckingham). The

administration did send the proposed change to the District Curriculum Committee,


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and received feedback from two members. P151; D67; 7:80-82 (C. Brown); 35:7-

8 (Baksa); P151; D67. One opposed the change and the other wanted the District

Curriculum Committee to meet to discuss the proposed change. P151. There is no

evidence that the Board acted on either suggestion.

                              (d)     The teachers were not included in the process of drafting

the language adopted by the Board Curriculum Committee; the Board chose not to

follow the advice of their only science-education resource. 7:82-83 (C. Brown);

30:31-32 (Buckingham).

                    227. Witnesses for defendants testified that the rush to bring the

curriculum change to a vote occurred because the issue had been debated for the

past six months, and the Board was about to lose two board members, Noel

Wenrich and Jane Cleaver, who had been a part of those discussions. 26:10-12

(Nilsen); 33:113-14 (Bonsell). Their record contains no evidence of any public

board meetings where the Board discussed intelligent design, but the evidence

shows that the Board did discuss creationism within that six month period. See

supra at ¶¶ 170-77. Moreover, Wenrich was opposed to the expedited vote, as

reflected in his parliamentary measures to have the vote delayed until the

community could properly debate the issue, and consider the science teachers’

position. 29:125-28 (Buckingham). In reality, Buckingham wanted the Board to

vote on the resolution on October 18 because he thought he had all the votes


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needed to pass the resolution adopted at the October 7 meeting of the Board

Curriculum Committee. 29:113-16 (Buckingham).

                    228. On October 18, prior to the board meeting, the science teachers

learned that the Board intended to vote for the Board Curriculum Committee’s

proposed change, rather than the one submitted by the administration, to which the

teachers had acquiesced. 7:82-83 (C. Brown); 35:12-14, 125 (Baksa). The

teachers and administration prepared a third proposal, which included the text

“Origins of Life is Not Taught,” and added Pandas as a reference text in the

curriculum guide. D68. This latest proposal was not preferred by the teachers

over the first proposal, or over having no change at all, but rather as a last effort to

avoid the Board Curriculum Committee’s proposal, which called for presentation

of intelligent design. 13:58-59 (J. Miller).

                    229. At the October 18, 2004 meeting, science teachers Spahr and

Miller, and other members of the public spoke up against the curriculum change.

13: 41-42 (J. Miller); 13:88-93 (Spahr). In her statement to the Board, Spahr made

clear that the teachers’ agreement to point out “flaws/problems with Darwin’s

theory,” not to teach origins of life, and have Pandas available as a reference text,

were all compromises with the Board Curriculum Committee, after what she

described as “a long and tiresome process.” 13:91-92 (Spahr). She also stated that

the change was being railroaded through without input from the teachers or the


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District Curriculum Committee. 13:91-93. Neither Superintendent Nilsen nor

Assistant Superintendent Baksa, nor any board member spoke up in disagreement

with this description of events by the teachers. 35:126 (Baksa).

                    230. Baksa testified that the teachers did not support Pandas in any

way. The teachers’ first preference would have been not to have Pandas at all, but

they made compromises to insure the purchase of the biology book. 35:119-20

(Baksa).

                    231. Any suggestion that the teachers supported any part of the

curriculum change must be soundly rejected. 35:20-21 (Baksa). The evidence

demonstrates that any “agreement” on the part of the teachers was done to

compromise with board members who were trying to foist religion into the

curriculum, and, in part, as quid pro quo for approval of a biology book that should

have been provided as a matter of course. 35:119-20, 123 (Baksa).

                    232. At the October 18 meeting, Spahr warned that intelligent design

amounted to creationism and could not be taught legally. 24:102 (Nilsen); 35:14-

15 (Baksa).

                    233. During the October 18, 2004 meeting, the following language

was added to the Board Curriculum Committee’s recommended curriculum

change: “Note: Origins of Life is Not Taught.” From the Board’s perspective,

this change made it district policy that teachers were not permitted to teach major


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aspects of evolution, including macroevolution, speciation, and common ancestry,

including that humans share common ancestors with other living creatures.

29:121-23 (Buckingham); Buckingham Dep. (3/31/05) at 71, 74; Bonsell Dep.

(4/13/05) at 67-69.

                    234. The 6-3 vote to approve the curriculum change occurred

without any discussion by the Board about intelligent design or how presenting it

to students would improve science education. 26:21 (Nilsen); 35:127-28 (Baksa);

8:36 (C. Brown); 8:76; 12:139-40 (J. Miller); 13:102 (Spahr); 32:25-26, 40; 30:23-

25 (Buckingham); 31:182-83 (Geesey); 34:124-26 (Harkins). No justification was

offered by any board member for the change in the curriculum when it was

adopted at the October 18, 2004, board meeting. 6:105-06 (Eveland); 8:36

(C. Brown); 8:76 (J. Brown); P88.

                    235. Board members acknowledged that they did not have sufficient

background in science to evaluate intelligent design themselves – 31:175 (Geesey);

32:50 (Cleaver); 34:117-18 (Harkins) – and most of them testified candidly that

they did not understand the substance of the curriculum change that was adopted

on October 18, 2004. 31:181-82 (Geesey); 32:49-50 (Cleaver); 34:124-25

(Harkins).




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                    236. Instead, other board members adopted the position of Bonsell

and Buckingham for their information about intelligent design and their decision to

incorporate it as part of the high school biology curriculum. 31:154-68 (Geesey).

                    237. They did so in the face of strenuous opposition from the

district’s high school teachers. 31:186-90 (Geesey); 35:127-28 (Baksa).

                    238. The Board never heard from any persons or organization with

scientific expertise about the change to the curriculum, except the district’s science

teachers, who opposed the change. 29:109 (Buckingham). The only outside

organizations the Board consulted prior to the vote were the Discovery Institute

and TMLC, and they only consulted those organizations for legal advice, not

information about science education. 33:111-12 (Bonsell); 29:130, 137-43, 30:10-

14 (Buckingham). The Board received no materials, other than Pandas, to assist

them in making their vote. 35:127-28 (Baksa); 8:36-37 (C. Brown); 33:112-14

(Bonsell).

                    239. No one on the Board or in the administration ever contacted the

National Academy of Sciences, the American Association for the Advancement of

Science, the National Science Teachers’ Association, the National Association of

Biology Teachers, or any other organization for information about intelligent

design or science education. 33:113 (Bonsell); 30:24-27 (Buckingham). All of

these organizations have information about teaching evolution readily available on


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the Internet and they include statements opposing the teaching of intelligent

design. 14:74-99 (Alters).

                    240. Board members who voted for the curriculum change that

testified at trial admitted they had no grasp of the concept of intelligent design.

Cleaver testified that she did not understand the concept of intelligent design.

32:49-50 (Cleaver)5. Geesey testified that she did not understand the substance of

the curriculum change. 31:181-82 (Geesey); 29:11-12 (Buckingham);

Buckingham Dep. (1/3/05) at 59-61; 34:48-49 (Harkins); 33:112-113 (Bonsell);

26:21 (Nilsen). Buckingham admitted that he had no basis to know whether

intelligent design amounted to good science. 30:32-33. As of the time of his first

deposition, two and a half months after the policy was voted in. Nilsen’s entire

understanding of intelligent design was that “evolution has a design.” 26:49-50.

                    241. In voting for the curriculum change, Geesey deferred

completely to Bonsell and Buckingham. 31:154-55, 161-62, 168, 184-87, 190

(Geesey). Cleaver voted for the change despite the objections of the teachers

based on assurances from Bonsell. 32:23-25 (Cleaver). She did not know




          5
         During her testimony, Cleaver consistently referred to the concept as
“intelligence design” although the trial transcript records her as saying “intelligent
design.” See e.g., 32:17 (Cleaver).


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anything about Pandas except that Bertha Spahr had said it was not a good science

book and should not be used in high school. 32:45-46 (Cleaver).

                    242. Nilsen and Baksa opposed the curriculum change. (35:126).

Baksa still feels the curriculum change was wrong. 35:127 (Baksa).

                    243. Both Casey Brown and Jeff Brown resigned at the conclusion

of the October 18, 2004 board meeting. In her resignation speech, Casey Brown

stated:

                    There has been a slow but steady marginalization of
                    some board members. Our opinions are no longer valued
                    or listened to. Our contributions have been minimized or
                    not acknowledged at all. A measure of that is the fact
                    that I myself have been twice asked within the past year
                    if I was ‘born again.’ No one has, nor should have the
                    right, to ask that of a fellow board member. An
                    individual’s religious beliefs should have no impact on
                    his or her ability to serve as a school board director, nor
                    should a person’s beliefs be used as a yardstick to
                    measure the value of that service.

                    However, it has become increasingly evident that is the
                    direction the board has now chosen to go, holding a
                    certain religious belief is of paramount importance.

P680; 7:92-93 (C. Brown).

                    244. At the next meeting, board member Noel Wenrich resigned and

stated:

                    I was referred to as unpatriotic, and my religious beliefs
                    were questioned. I served in the U.S. Army for 11 years
                    and six years on this board. Seventeen years of my life
                    have been devoted to public service, and my religion is
                    personal. It's between me, God, and my pastor.

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P810; 30:126-30 (Bernhard-Bubb); 4:11-12 (B. Callahan).

          R.        Assistant Superintendent Baksa Developed the Statement Read to
                    Students to Suit the Board and the Teacher’s Refusal to Read It
                    245. After the curriculum was changed, Assistant Superintendent

Baksa was tasked with preparing a statement to be read to students before the

evolution unit in biology. His first draft of the statement described Darwin’s

theory of evolution as the “dominant scientific theory.” The Board removed this

language from the final version. D91; (36:22-24). Baksa’s draft also stated that

“there are gaps in Darwin’s theory for which there is yet no evidence.” D91;

(36:26-28). The Board edited out the word “yet” so that the statement reads “there

are gaps in Darwin’s theory for which there is no evidence.” 36:26-28 (Baksa).

                    246. Baksa instructed Jennifer Miller to review the statement. She

suggested that language be added that stated there is a “significant amount of

evidence” supporting Darwin’s theory. D91. Baksa understood this to be an

accurate statement about the theory of evolution, but edited it out because, based

on the Board’s treatment of his draft, he understood the Board would not approve

this language. 36:24-26 (Baksa).

                    247. Baksa testified that the final version of the statement

communicated a very different message about the theory of evolution than the

language he and Miller suggested. (36:27).




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                    248. The final version of the statement prepared by defendants to be

read to students in 9th grade biology class, stated:

                    The state standards require students to learn about
                    Darwin’s Theory of Evolution and to eventually take a
                    standardized test of which evolution is a part.

                    Because Darwin’s Theory is a theory, it is still being
                    tested as new evidence is discovered. The Theory is not
                    a fact. Gaps in the Theory exist for which there is no
                    evidence. A theory is defined as a well-tested
                    explanation that unifies a broad range of observations.

                    Intelligent design is an explanation of the origin of life
                    that differs from Darwin’s view. The reference book, Of
                    Pandas and People, is available for students to see if they
                    would like to explore this view in an effort to gain an
                    understanding of what intelligent design actually
                    involves. As is true with any theory, students are
                    encouraged to keep an open mind.

                    The school leaves the discussion of the Origins of Life up
                    to individual students and their families. As a standards-
                    driven district, class instruction focuses on the standards
                    and preparing students to be successful on standards-
                    based assessments.

P124.

                    249. On January 6, 2005, the teachers sent a memo to the Board by

which they requested the Board release them from any obligation to read the

statement. 36:97 (Linker). The memo states the teachers belief that “reading the

statement violates our responsibilities as professional educators as set forth in the

Code of Professional Practice.” 36:97 The teachers’ memo also states that

“Central to teaching act and our ethical obligation is the solemn responsibility to

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teach the truth . . . the public educator may not knowingly and intentionally

misrepresent subject matter and curriculum.” 36:98. The memo concludes with

the statement “To refer the students to Of Pandas and People, as if it is a scientific

resource, breaches my ethical obligation to provide them with scientific knowledge

that that is supported by recognized proof or theory.” P121.

                    250. The defendants read the statement to ninth graders at Dover

high school in January 2005. 35:43 (Baksa). The teachers requested not to read

the statement because it violated their professional ethics. 25:56-57 (Nilsen);

P121. In their place, administrators of the DASD read the statement. 35:38

(Baksa).

                    251. The administrators read the statement again in June 2005.

35:42 (Baksa); P131. By that time, the defendants had modified the statement to

refer to other, unnamed books in the library that relate to intelligent design. P131.

Pandas remains the only book identified by name in the statement. 35:40, 42

(Baksa). The defendants offered no evidence about where the other books can be

found in the library, including whether they are placed near Pandas. 35:42-43

(Baksa).

                    252. Evolution is the only theory taught in Dover science classes for

which students are told it is a “theory not a fact,” or that there are “gaps and




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problems.” 36:30-32 (Baksa); 35:120 (Baksa). No board member or administrator

explained why evolution was singled out in this manner. 13:102 (Spahr).

          S.        The Board Published a Newsletter Denigrating Evolution and
                    Advocating Intelligent Design to the Entire Dover Community
                    253. In February, 2005, the Board published P127, a newsletter to

the entire Dover community, which was prepared in conjunction with TMLC.

                    254. Typically, the Board sent out a newsletter to the Dover area

community approximately four times a year. 15:98-99 (C. Sneath). In February

2005, the Board unanimously voted to mail a specialized newsletter (P127) to the

community. 15:136; P821. Although formatted like a typical district newsletter, it

amounts to an aggressive advocacy piece denigrating the scientific theory of

evolution and advocating intelligent design.

                              (a)     As the very first question under “Frequently Asked

Questions” the newsletter demeans the Plaintiffs for protecting their Constitutional

rights. “A small minority of parents have objected to the recent curriculum change

by arguing that the Board has acted to impose its own religious beliefs on

students.” P127 at 1.

                              (b)     It mentions religion in the second Frequently Asked

Questions, as follows: Students are told of the theory of Intelligent Design (ID).

Isn’t ID simply religion in disguise.” Id.



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                              (c)     It suggests that opponents of the biology curriculum

change are responsible for spreading misinformation. “Unfortunately, a great deal

of misinformation has been spread regarding this policy.” Id.

                              (d)     It suggests that scientists engage in trickery and

doublespeak about the theory of evolution. “The word evolution has several

meanings, and those supporting Darwin’s theory of evolution use that confusion in

definition to their advantage.” Id.

                              (e)     It makes the grandiose claim that intelligent design is a

scientific theory on a par with evolution and other scientific theories. “The theory

of intelligent design (ID) is a scientific theory that differs from Darwin’s view, and

is endorsed by a growing number of credible scientists.” Id. at 2.

                              (f)     It denigrates evolution in a way and makes claims that

have never been advanced much less proven in the scientific community. “In

simple terms, on a molecular level, scientists have discovered a purposeful

arrangement of parts, which cannot be explained by Darwin’s theory. In fact, since

the 1950s, advances in molecular biology and chemistry have shown us that living

cells, the fundamental units of life processes, cannot be explained by chance.” Id.

                              (g)     It suggests that evolution has atheistic implications.

“Some have said that before Darwin, ‘we thought a benevolent God had created us.




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Biology took away or status as made in the image of God’…or ‘Darwinism made it

possible to be an intellectually fulfilled atheist.’” Id.

                              (h)     It takes the obligatory cheap shot at the ACLU. “As the

elected representatives of the citizens of Dover, the Board was determined to act in

the best interest of students, despite threats from the ACLU.” Id.

                              (i)     It all but admits that intelligent design is religious. It

quotes Anthony Flew, described as a “world famous atheist who now believes in

intelligent design,” as follows: “My whole life has been guided by the principle of

Plato’s Socrates: Follow the evidence where it leads.” Id.

                    255. In addition, on April 23, 2005, at the request of the school

board, Michael Behe made a presentation on intelligent design to Dover citizens.

Joint Stipulations of Fact ¶11.

          T.        The Effect of the Board’s Actions on the Plaintiffs

                    256. Plaintiffs described the harm caused by the Board’s policy on

their children, their families, and themselves in consistent, but uniquely personal

ways. They believe that intelligent design is an inherently religious concept and

that its inclusion in the district’s science curriculum interferes with their rights to

teach their children about religion. 3:118-119 (Kitzmiller): 4:13-15 (Callahan);

6:77-78 (C. Rehm); 6:106 (Eveland); 16:26, 30 (Stough); 17:147-48 (Leib).




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                    257. Plaintiff Cynthia Sneath’s testimony is representative:

                    Well, you know, as a parent, you want to be proactive in
                    your child’s education. I mean, obviously I’m not an
                    educator. I have no big degrees. I want to be proactive,
                    but I depend on the school district to provide the
                    fundamentals. And I consider evolution to be a
                    fundamental of science. And I’m quite concerned about
                    a cautionary statement. I am quite concerned about this
                    intelligent design idea. I do think it’s confusing. I don’t
                    think it adds to his education. And at the end of the day, I
                    mean, in my mind, intelligent designer, I mean, the word
                    ‘designer’ is a synonym for Creator, and, you know, that
                    takes a leap of faith for me, you know. And I think it’s
                    my privilege to guide them in matters of faith, not a
                    science teacher, not an administrator, and not the Dover
                    Area School Board.

15:100-101.

                    258. Plaintiffs also testified that their children confront challenges to

their religious beliefs at school because of the Board’s actions. For example,

Christy Rehm testified that her daughter is upset by comments of other students

who contend that evolution is against their religion. 6:77-78 (Rehm).

                    259. Plaintiff Julie Smith explained how the Board’s action have

caused conflict in her own family and violated her religious beliefs:

                    Late in ‘04 my daughter came home from school, and I
                    was discussing kind of what was going on in the district
                    with her. And she looked at me and said, Well, Mom,
                    evolution is a lie, what kind of Christian are you,
                    anyway, which I found to be very upsetting. I asked her
                    why she said that, and she said in school what they had
                    been talking about or amongst her friends and what’s
                    going on. She seemed to be under the impression that as

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                    a Christian, she could not believe that evolution was a
                    science that, you know, was true. Well, it goes against
                    my beliefs. I have no problems with my faith and
                    evolution. They’re not mutually exclusive.”

6:38-39.

                    260. Other plaintiffs testified about discord in the community. Joel

Leib, whose family has lived in Dover for generations, testified as follows:

                    “Well, it’s driven a wedge where there hasn’t been a
                    wedge before. People are afraid to talk to people for fear,
                    and that’s happened to me. They’re afraid to talk to me
                    because I’m on the wrong side of the fence.”

17:146-147.

                    261. Board members opposing the curriculum change and its

implementation have been confronted directly. Casey Brown testified that,

following her opposition to the curriculum change on October 18, Buckingham

called her an atheist and Bonsell told her she would go to hell. 7:94-95; 8:32.

Angie Yingling was coerced into voting for the curriculum change by board

members accusing her of being an atheist and un-Christian. 15:95-97 (Sneath).

Both Bryan Rehm and Fred Callahan have been confronted in the same way. 4:93-

96 (B. Rehm); 8:115-16 (F. Callahan). Teachers have also been confronted with

the same kind of hostility. 14:34-35 (Spahr).

                    262. Plaintiff Fred Callahan testified that the plaintiffs have been

cast as “atheists” and intolerant” in the Dover community, and that is the reason

why he brought this lawsuit as a plaintiff:

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                    We’ve been called atheists, which we’re not. I don’t
                    think that matters to the Court, but we’re not. We’re said
                    to be intolerant of other views. Well, what am I
                    supposed to tolerate? A small encroachment on my First
                    Amendment rights? Well, I’m not going to. I think this is
                    clear what these people have done. And it outrages me.

8:115-116.

          U.        The Dover Community Perceives the Board As Having Acted to
                    Promote Religion
                    263. The Board’s actions from June through October 18, 2004 were

consistently reported in news articles in the two local papers, the York Daily

Record and the York Dispatch. P44/P804, P45/P805, P46/P790, P47/P791,

P51/P792, P53/P793, P54/P806, P55, P64, P682/P795, P683/P807, P679,

P684/P809, P685/P796, P678/P797, and P686.

                    264. In fact, most of the plaintiffs did not attend the 2004 board

meetings that preceded the curriculum change and became aware of the Board’s

actions only after reading about them in the local papers. Tammy Kitzmiller, Beth

Eveland, Cindy Sneath, Steven Stough, and Joel Leib all first learned of the

Board’s actions regarding the biology curriculum and textbook from the news

articles. 3:114 (Kitzmiller); 6:93-94 (Eveland); 15:77-78 (Sneath); 15:113-14

(Stough); 17:143 (Leib). Stough testified he read the York Daily Record and the

York Dispatch every day, including on the Internet while he was away on vacation,




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to follow the Board’s actions relating to the change to the biology curriculum.

15:112-113; 16:4.

                    265. The news reports in the York newspapers were followed by

numerous letters to the editor and editorials published in the same papers.

Plaintiffs provided the Court with summaries of the letters to the editor and

editorials as part of exhibits P671, P672, P674, and P675.6

                    266. A review of the contents of the letters to the editor and

editorials published in the York papers between June 2004 and September 2005

demonstrates that the Dover community perceives the Board as having acted to

promote religion, with many citizens lined up as either for the curriculum change,

on religious grounds, or against the curriculum change, on the grounds that religion

should not play a role in public school science class.

                              (a)     The York Daily Record published 139 letters to the editor

regarding the Board’s actions. P671. Eighty-six of those letters addressed the

issues in religious terms. 16:18-20 (Stough).


          6
       The letters to the editor and editorials that are exhibits P671, P672, P674,
and P675 are relevant to show that the effect of the Board’s actions is the
promotion or endorsement of religion and thus they should be admitted into
evidence for the reasons set forth in the Memorandum of Law in Support of
Admissibility of Editorials and Letters to the Editor in the York Daily Record and
York Dispatch From the Period June 1, 2004 – September 1, 2005, which was filed
on October 28, 2005.


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                              (b)     The York Daily Record published forty-three editorials

regarding the Board’s actions. P674. Twenty-eight of those editorials addressed

the issues in religious terms. 16:22-23 (Stough).

                              (c)     The York Dispatch published eighty-six letters to the

editor regarding the Board’s actions. P672. Sixty of those letters addressed the

issues in religious terms. 16:24 (Stough).

                              (d)     The York Dispatch published nineteen editorials

regarding the Board’s actions. P675. Seventeen of those editorials addressed the

issues in religious terms. 16:25 (Stough).

                    267. The following excerpts are representative of the letters to the

editor in the York newspapers in favor of the Board’s actions on religious grounds:

                              (a)     “Evolution is a theory while Christianity is truth and fact.

. . . And yes, by all means teach intelligent design as a major part of the history of

the great United States of America.” P671, No. 39.

                              (b)     “It’s high time to put God back in our lives and inform

others of what he has to offer. Try God. If you don’t like him, Satan will gladly

take you back.” P671, No. 48.

                              (c)     “God gave us the Bible as a guideline to live by, and in it,

He also told us how he created the world.” P672, No. 43.




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                              (d)     “No need to cloud your mind with science; just read

Genesis, it will answer all your scientific questions.” P672, No. 47.

                    268. The following excerpts are representative of the letters to the

editor in the York newspapers opposed to the Board’s actions on the grounds that

religion should not play a role in public school science class:

                              (a)     “Creationism and its cousin, intelligent design, are

devoid of scientific facts…a science classroom is not the place for theology.”

P671, No. 6.

                              (b)     “As a concerned student and as a concerned human

being, I say please and with all due respect, keep the religious out of my school

because it has no place in the classroom.” P671, No. 50.

                              (c)     “God is at home. God is many places. God is not a part of

public schools.” P672, No. 18.

                              (d)     “As scientists and educators, we urge the school board to

exclude theism and the supernatural from their science curriculum.” P672, No. 25.

                    269. The following excerpts are representative of the editorials in the

York newspapers in favor of the Board’s actions on religious grounds:

                              (a)     “Yes, I believe that creationism should be taught in

schools because evolution is only a theory and the Bible is God’s word which has

stood the test of time.” P674, No. 4.


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                              (b)     “In the meantime, we, the church will carry the torch of

faith until all the world, even science, recognizes God as the creator of everything

that is.” P674, No. 30.

                              (c)     “If intelligent design were taught: . . . Maybe the children

wouldn’t mar their bodies with all kinds of permanent markings: which by the way

in the Bible, Leviticus 19:28 says, ‘You shall not make any cuttings in your flesh

for the dead, nor (tattoo) any marks upon you; I am the Lord.’” P674, No. 41.

                    270. The following excerpts are representative of the editorials in the

York newspapers opposed to the Board’s actions on the grounds that religion

should not play a role in public school science class:

                              (a)     “The Dover school board needs to reverse the ‘intelligent

design’ decision, or as I like to call it, ‘the design your own lawsuit that will gather

national media attention, which will only hurt the children and the teachers, just for

trying to put religion into a public school’ decision.” P674, No. 21.

                              (b)     “ID is ‘modern’ creationism. Intelligent design is a veiled

strategy to teach religion instead of science.” P674, No. 25.

                              (c)     “Intelligent design is not a ‘theory’ but strictly a religious

concept that may have its place in Sunday school and in the home – not in my high

school biology class.” P675, No. 19.




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V.        THE CLAIM THAT BOARD MEMBERS ACTED FOR THE
          PURPOSE OF IMPROVING SCIENCE EDUCATION IS A PRETEXT
          TO HIDE THE TRUE MOTIVE FOR CHANGING THE BIOLOGY
          CURRICULUM, WHICH WAS TO PROVIDE STUDENTS WITH A
          RELIGIOUS ALTERNATIVE TO THE THEORY OF EVOLUTION

          A.        The Two Board Members Most Directly Involved in the Change
                    to the Biology Curriculum Did Not Testify Truthfully,
                    Consistently, or Believably
                    271. Both Bonsell and Buckingham lied at their January 3, 2005

depositions about their knowledge of the source of the donation for Pandas.

                              (a)     At his deposition on January 3, 2005, Bonsell failed to

disclose that he had received a check from Buckingham or that Buckingham had

any involvement with collecting money to purchase Pandas. 33:31-36, 127-33

(Bonsell). At his deposition, when asked “who donated the books,” he initially

replied “I don’t know.” 33:32. After follow-up questions, he supplied the name of

his father, but no one else. 33:33. Counsel then asked him “how did you become

aware that your father, as well as other individuals, intended to donate the Pandas

book to the district?” 33:33. He provided no information about a check from

Buckingham. Counsel asked him “who was the offer made to.” 33:33. His

answer: “I’m not sure.” 33:33. Counsel asked “you have never spoken to

anybody else who was involved with the donation?” 33:35. Answer: “I don’t

know the other people.” 33:35. Question: “The only person you could have

spoken to about the books was your father, correct?” 33:35. Answer: “Yes as far



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as donating the books. I guess they offered to pay for the books, and they got the

books, and they gave them to the school district.” 33:35. Question: “They offered

to whom? How was the offer communicated?” 33:35. Answer: “That’s what I

am saying. I am trying to think about exactly how it was done. I don’t remember

exactly how it was said or done.” 33:35.

                              (b)     This testimony was untruthful. Bonsell knew that he had

received a check from Buckingham, and yet he failed to disclose it on January 3,

despite repeated questions that should have elicited that information. Upon

questioning by the Court, Bonsell admitted that Buckingham gave him the check to

pass to Bonsell’s father and “this was money that he collected for donations to the

book.” 33:127. Bonsell then admitted that he did not tell the truth at his

deposition; he claimed that he “misspoke,” but he acknowledged that he should

have identified Buckingham in response to Counsel’s direct questions. 33:129.

                              (c)     Buckingham lied at both the trial and his deposition

about the donation of Pandas. 30:38-55. He claims he did not take up a

“collection” at his church, even though he stood in front of the pews on a Sunday

before service, told the congregation about a need for donations to purchase

Pandas as a supplemental text, and accepted donations totaling $850. 30:38-40.

His refusal to admit the obvious at trial is as untruthful as his failure to disclose the

fact of the collection at his first deposition.


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                              (d)     At his first deposition, when asked “[d]o you know

where that came from, who donated the money,” Buckingham answered “No I

don’t.” 30:50-51. Counsel followed up by asking: “You have had no idea?” and

Buckingham responded “I have thoughts but I don’t know.” 30:50-51. Question:

“What are your thoughts?” 30:51. Answer: “I think it could have a tie to Alan

Bonsell.” 30:51. Clearly Buckingham lied - - he should have said he knew that

people at his church donated $850.

                              (e)     Buckingham compounded the lie in response to follow-

up questions. He testified that although questions were raised at a board meeting,

he was not curious and did not ask about the source. 30:51-52. Counsel then

asked: “Why didn’t you ask? And he responded: Didn’t want to know.”

Question: Why didn’t you want to know? Answer: Well, what purpose would it

serve? Question: Well, because you’re a board member and the school district is

part of your responsibility and maybe where these books came from would be

something that you should know.” Answer: No, I think it was a wonderful

gesture, and I didn’t concern myself with where they came from.” 30:52. Again,

Buckingham clearly lied. He did not ask about the source of the donation for

Pandas because he already knew the source, not because he did not want to know.




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                    272. In addition to failing to tell the truth about the source of the

donation of Pandas, Bonsell failed to tell the truth about other subjects, hid behind

convenient memory lapses and failed to admit the obvious.

                              (a)     Bonsell failed to tell the truth about his recollection of

Charlotte Buckingham speaking at the meeting of the Board on June 14, 2004 at

his January 3 deposition. He testified at trial that he recalled her speaking on that

day, that she went on for a great length of time, that he felt uncomfortable gaveling

her down because she was the wife of a board member, that she probably

mentioned creationism, and that her comments were very religious in nature.

33:37 (Bonsell). And yet, when asked at his deposition whether he recalled

Charlotte Buckingham making religious statements at the meeting, as reported in

P54, a June 15, 2004 article from the York Dispatch by Heidi Bernhardt-Bubb,

Bonsell said: “I remember Mrs. Buckingham coming up and talking at public

comment, but I don’t remember what she said.” 33:38.

                              (b)     Bonsell also failed to tell the truth about his interest in

creationism. His counsel stated during the opening statement that Bonsell “had an

interest in creationism. He wondered whether it could be discussed in the

classroom.” 1:19. Yet in his testimony, Bonsell could not recall having any

interest in creationism. 33:45-48. After numerous questions, the most he would

say was that he “probably” had such an interest. 33:48.


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                              (c)     Bonsell claims not to recall raising the subject of

creationism at either the 2002 or 2003 board retreat, even though documents show

that he raised that subject. 33:44-45. At his deposition, he insisted he never raised

creationism at any board meeting and at trial admitted that plaintiffs would have

never learned that he raised the subject at those two board retreats if the documents

had not been found. 33:53. He claimed that “we brought these papers forward,”

referring to the two board retreat documents showing the word “creationism” next

to his name in 2002 and 2003. 33:53. But he did not find those documents; Nilsen

found those documents. 33:53-54. And Nilsen turned the documents over to

counsel, who properly produced them. 33:54. Bonsell cannot claim credit in any

way for candor with respect to those documents. The fact remains that if those

documents had not been found his “interest in creationism” might never have been

discovered.

                              (d)     Bonsell insists that he is not the board member referred

to in the Trudy Peterman memo (P26) who wanted to teach creationism on a 50/50

basis with evolution in or around March 2003. 33:52. And yet it is perfectly clear

from the testimony of Michael Baksa, Bertha Spahr, and Barry Callahan, combined

with P21, P25, P26, and P641, that Bonsell is the board member who wanted to

teach creationism on a 50/50 basis with evolution in and around March 2003. See

supra at ¶¶ 138-43.


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                    273. Buckingham’s testimony was riddled with inconsistencies,

statements that do not ring true, and several proven lies, in addition to the lie

discussed above about the source of the donation of Pandas.

                              (a)     At his deposition, he initially denied that he made the

statement that the 2002 edition of Biology was “laced with Darwinism.” 29:36-37.

                              (b)     Counsel forced him to admit that he advocated

“creationism” in a statement to a television reporter for Channel Fox 43 in June

2004, but he continued to maintain the incredible position that he never used that

word at any board meetings. 29:95-101; P145.

                              (c)     At trial, he admitted that he opposed the purchase of

Biology at the August 2, 2004 board meeting. 29:101-03. But at his deposition, he

claimed he supported the purchase of Biology on August 2, 2004. 29:103-04.

                              (d)     He claimed that he had not read any of the reports in the

newspapers in June of 2004, even though both the York Dispatch and the York

Daily Record were delivered to his door, and at one point the York Daily Record

had an editorial praising him for his forthrightness in dealing with his Oxycontin

problem and in advocating his views about creationism. 29:42, 87-89; P55.

                              (e)     He testified that no one told him about the contents of the

articles reported in the local papers in June 2004 except to say “you’re in the paper

again or the Board is in the paper again.” 29:42-43. This was in conflict with his


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initial deposition testimony where he testified that no one, not his wife, his friends,

or the people at his church told him what had been reported in the papers. 29:62-

63. He changed that testimony at his second deposition to say that “people did tell

me that there were articles in the paper, but I didn’t look to see them, and I was just

told that they were there.” 29:63-64. In his testimony at trial, he clarified his

testimony yet again to say “I won’t say – people at the Church would come up and

tell me there were things in the paper, and sometimes they would blurt out

something in passing, but there was never any in depth discussion of what’s in an

article. They might have just said ‘hey, they have you talking about creationism

again.’ And we didn’t talk about that. We talked about intelligent design.” But

later in his testimony, after reviewing the Fox 43 videotape (P145) of him talking

about “creationism” he blurted out the following: “And what happened was when I

was walking from my car to the building, here’s this lady and here’s a camera man,

and I had on my mind all the newspaper articles saying we’re talking about

creationism, and I had it in my mind to make sure, make double sure that nobody

talks about creationism, we’re talking intelligent design. I had it on my mind, I

was like a deer in the headlights of a car, and I misspoke. Pure and simple, I made

a human mistake. 29:96. (Emphasis added). Questioned further, he admitted that

he knew from talking with board members about the reports the Board discussing

creationism. 29:96-97. Buckingham’s shifting testimony on this point and his


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ultimate admission show that he lied at his deposition and again at trial, most likely

to provide a rationale why he never denied all the reports in the newspapers. The

Court can and should assume that he read all the stories in the newspapers

delivered to his door and falsely claimed that he did not read them, because he

knew they were true and he never denied them.

          B.        Other Witnesses for Defendants Also Failed to Testify Truthfully
                    and Credibly
                    274. Board member Geesey also lied at trial. At her deposition,

Geesey testified that she could not recall what theory Buckingham discussed as an

alternative to evolution at the June 7 meeting and that she did not recall discussion

of the words “intelligent design” at the June 14 meeting. 31:178-181. At trial, she

changed her story completely and claimed the Board discussed intelligent design at

the board meetings in June. 31:161.

                    275. As her explanation for this marked change in testimony, Geesey

claimed that review of P56, plaintiff Eveland’s letter to the editor of the York

Sunday News dated June 20, 2004, and P60, her letter to the editor of the York

Sunday News dated June 27, 2004, refreshed her recollection that the Board

discussed intelligent design at the June 2004 board meeting. 31:180, 199-201.

This testimony is not credible for two reasons: First, both letters discuss

creationism, not intelligent design. P56; P60. Geesey failed to explain how

references to “creationism” could remind her that the Board had discussed

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“intelligent design.” She obviously concocted this story. Second, she reviewed

P60 at her deposition in January, and was questioned about it at that time. 31:203-

204. So any claim that it refreshed her recollection in preparation for testifying at

trial is false.

                    276. All of the board members who claimed that the Board never

discussed “creationism” at the June board meetings -- in the face of all the

evidence to the contrary -- should not be believed on this or any other points

because their testimony is incredible. 29:68 (Buckingham); 31:152,161 (Geesey);

32:95, 100 (Bonsell); 33:53, 96-97 (Bonsell); 34:44-45 (Harkins).

                              (a)     With the exception of Baksa, none of the defendants’

witnesses from the Board or administration admitted the truth about the board

meetings in June 2004. They claim that the newspaper reports were false, and yet

no one from the Board or administration ever sought a retraction or denied the

reports in writing until after the plaintiffs filed the lawsuit, almost eight months

later. 33:87-95 (Bonsell).

                              (b)     The news reporters who covered the board’s meetings in

the summer and fall of 2004 testified that they were never asked for a retraction or

to correct an article. 30:91-93 (Bernhard-Bubb); 31:72-73, 90 (Maldonado).

                              (c)     If the board members or administration wanted to contest

statements in the newspapers, all they had to do was transcribe the tapes of the


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meetings, which were available until July 12, 2004, long after the newspaper

reports about the meetings on June 7 and 14. 33:106 (Bonsell); P63.

                              (d)     The defendants cannot claim that they did not know

about the newspaper reports -- Bonsell acknowledged the reports, Buckingham

admitted the Board knew of the reports, and Nilsen admitted that he clipped and

read the articles. 33:71-79 (Bonsell); 29:96-98 (Buckingham); 25:101-02 (Nilsen).

                              (e)     Geesey took proactive measures when she thought she

had been misquoted in a news story about the board meeting on October 18, 2004.

Nilsen testified that she contacted him the next day “immediately” upon learning

of the news reports she disputed and she asked him to develop a verbatim

transcript of the meeting to prove that she did not say what had been reported.

24:113-14 (Nilsen); 31:172 (Geesey). The failure of any board member to do the

same with respect to the June reports provides additional strong evidence that the

news reports were true and that the board members who at trial denied those

reports are not being truthful.

                    277. Bonsell, Buckingham, Harkins, and Nilsen molded their

testimony to compliment each other. As discussed supra at 176(k), the York

newspapers reported in June 2004 that Buckingham made a statement about a man

dying on a cross 2,000 years ago at the June 14 board meeting. No one from the

Board or administration ever denied this statement, even though they knew about


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the reports in the newspapers, until January 3, 2005, when plaintiffs took the

depositions of Buckingham, Bonsell, Harkins, and Nilsen. 33:87-95 (Bonsell). At

the January depositions, each of these witnesses testified that the statement was

made at a board meeting in the fall of 2003 or that they could not recall when it

was made. 33:96-100 (Bonsell); 29:71-72 (Buckingham); 34:94-95 (Harkins),

25:110-111 (Nilsen). At trial, Bonsell changed his testimony on this point; at his

deposition he claimed not to be sure when Buckingham made the statement but at

trial he was certain Buckingham made it in 2003. 33:85, 97-100.

                    278. This testimony of all these witnesses flies in the face of all the

evidence that Buckingham made that statement on June 14, 2004. P793/P53;

P806/P54; 4:54-55 (B. Rehm); 6:73 (C. Rehm); 6:96 (Eveland); 7:26-27 (C.

Brown); 8:63 (J. Brown); 8:105-06 (F. Callahan); 30:105, 107 (Bernhard-Bubb);

31:75, 78-79 (Maldonado); 12:126 (J. Miller); 13:85 (Spahr).

                    279. Bonsell, Buckingham, Harkins, and Nilsen simply cannot be

believed. Their testimony that Buckingham did not make this statement on June

14, 2004 but instead made it in the fall of 2003 could not be true unless two

reporters for different newspapers falsely reported that Buckingham made the

statement in June 2004 and no less than eight other witnesses -- two science

teachers, two former board members, and four plaintiffs – all agreed to engage in a

conspiracy to lie.


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                    280. The evidence strongly suggests that it was Buckingham,

Bonsell, Harkins, and Nilsen who colluded on an account that would mask the

Board’s religious purpose when they met to discuss their testimony on January 2,

2005 -- the night before their depositions. 25:107 (Nilsen). Plaintiffs took those

depositions pursuant to a Court Order permitting the depositions on an expedited

basis so that plaintiffs could decide whether to seek a temporary restraining order.

                    281. And when the depositions were concluded and the plaintiffs

decided that the conflicts in the factual record prevented them from seeking a

temporary restraining order, Nilsen congratulated the board members who had

testified for the “great job” they had done testifying. 25:105-06 (Nilsen); P752.

“The ACLU is doing a great job of putting a ‘positive spin’ on the situation, but I

cannot help but feel gratified that they could not stop the implementation – and you

know if they could, they would have.” P752. In other words, mission

accomplished.

          C.        Bonsell and Buckingham and the Board Members Who Joined
                    With Them Acted for the Purpose of Offering Students a
                    Religious Alternative to the Theory of Evolution
                    282. As discussed above, Bonsell and Buckingham clearly intended

to change the biology curriculum for the purpose of promoting religion and

offering students a religious alternative to the theory of evolution, which offends

their personal religious beliefs.


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                    283. Indeed, Buckingham admitted that his primary goal was to

provide students with an alternative to evolution to prevent them from accepting

the theory of evolution as a fact. 29:39-40 (Buckingham). And Bonsell’s concern

about the teaching of evolution caused him to raise the subject of creationism at

board retreats two years in a row and then meet with the teachers in the fall of 2003

to make sure they were not teaching common ancestry, a concept that offends his

personal religious beliefs. See supra at ¶¶ 135-43, 154-55.

                    284. As the two leaders of the Board – the President and the Chair of

the Board Curriculum Committee – Bonsell’s and Buckingham’s motive should be

attributed to all the Board members who supported the October 18 resolution.

Several of those board members – Geesey, Cleaver, and Harkins – apparently

placed their trust completely in Bonsell and Buckingham because they have no

basis to question the theory of evolution and they did not understand intelligent

design when they voted for it. 31:181-82 (Geesey); 32:49-50 (Cleaver); 34:117-

18, 124-25 (Harkins).

                    285. In addition, the evidence shows that other board members

shared Buckingham’s and Bonsell’s religious motivation:

                              (a)     Geesey wrote to the editor of York Sunday News on June

27, 2004, not to challenge the accuracy of a quotation attributed to Buckingham

that “this country was founded on Christianity and our students should be taught as


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such” but to endorse it. 31:158-60, 192-93; P60; P56. Geesey agreed with

Buckingham that “our country was founded on Christian beliefs and principles.”

She confirmed the gist of the Board’s debate on the subject by also writing that the

district could “teach creationism without its being Christianity. It can be presented

as a higher power.” 31:158-64 (Geesey); P60.

                              (b)     Cleaver invited Charlotte Buckingham to a board

meeting where she (Cleaver) intended to speak in favor of introducing prayer in

schools, and Cleaver did speak in favor of introducing prayer. C. Buckingham

Dep. (4/15/05) at 11-13.

                    286. All of the facts about the June 2004 board meetings prove that

the board members who supported the October 18 resolution acted in a religiously-

charged atmosphere for a clearly religious purpose.

          D.        Although the Defendants Claim to Have Acted for the Secular
                    Purpose of Promoting Good Science Education, The Record
                    Contains No Evidence That They Ever Had That Purpose
                    287. Several of the defendants’ witnesses claimed that the Board

acted to promote good science education. And the defendants in their summary

judgment submission claimed to have acted for a number of secular purposes.

Defendants’ Motion for Summary Judgment at 22.

                    288. The defendants have never pointed to any evidence to suggest

that they ever acted for any purpose other than the religious purpose Buckingham


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articulated, namely, to provide students with a religious alternative to the theory of

evolution.

                    289. On the contrary, all the evidence suggests that the Board did not

have the purpose of promoting good science education:

                              (a)     As noted supra at 234 the Board engaged in no

discussion about the resolution or how it would promote good science education or

any other secular purpose.

                              (b)     Other than a legal presentation by the Discovery Institute,

the Board received no information or presentation about intelligent design. 33:112

(Bonsell); 30:23 (Buckingham).

                              (c)     Harkins, Cleaver, and Geesey did not understand

intelligent design when they voted on it, as discussed supra ¶¶ 235, 240-41 – and

neither did Buckingham. All he could say about intelligent design is that

“intelligent design teaches that something, molecules or amoeba possibly, evolved

into the complexities of life we have now.” 29:11-12 (Buckingham).

                              (d)     Neither Bonsell or Buckingham ever spoke to the board

members about why they should support the resolution. 33:112 (Bonsell); 30:23

(Buckingham).




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                              (e)     No materials were made available to the Board to assist

in its decision other than a book and a video from the Discovery Institute and there

is no evidence that any board members reviewed them. 33:112-113 (Bonsell).

                              (f)     No one on the Board or in the administration ever

contacted National Academy of Sciences, the American Association for the

Advancement of Science, the National Science Teachers’ Association, the National

Association of Biology Teachers, or any other organization for information about

intelligent design or science education. See supra at ¶ 239.

                              (g)     Buckingham in his dealings with the Discovery Institute

and TMLC never sought any advice about science education – he only sought legal

advice. 29:133-34; 30:12-14 (Buckingham). This says everything about his

motive and the motive of the other board members who supported the resolution –

if they had truly acted to promote science education there should be some evidence

they sought out scientific advice, not legal advice, about whether intelligent design

should be included in the curriculum.

                              (h)     The Board ignored the advice of the school district

science teachers, the Board’s only resource on questions of science education. The

science teachers did not want to mention intelligent design. 30:31-32

(Buckingham).




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                              (i)     Bonsell and Buckingham tried to hide the source of the

donation of Pandas. See supra at ¶ 271.

                              (j)     The Board limited the teaching of evolution to exclude

common ancestry, speciation, and macroevolution, all of which conflict with a

literal reading of the Bible. See supra at ¶ 233.

                    290. Given the absence of any evidence that the Board acted to

promote good science education or for any other secular purpose, and the plethora

of evidence that suggests that the Board in fact had no such secular purpose but

instead intended to promote a religious alternative to the theory of evolution, the

Court must conclude that the secular purposes claimed by the Board amount to a

pretext for the Board’s real purpose, which was to promote religion.

          E.        Dover’s Curriculum Change Does Not Improve Science
                    Education
                    291.       While defendants asserted various alleged interests to justify

their intelligent-design policy in their opening statement, 1:24-27, the evidence

shows that the board never discussed any interests to justify the curriculum change.

                    292. Furthermore, the alleged interests justifying the policy,

identified in the opening statement, 1:24-27, were unsupported by any testimony

from experts in the field of science education or even just general education, as

defendants withdrew both of their education experts, Warren Nord and Dick

Carpenter, during the trial.

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                    293. Consequently, the testimony of plaintiffs’ science-education

expert, Dr. Brian Alters, is unrebutted. Additionally, Dr. Miller, as a high-school-

biology-textbook author, 1:40-47, and Dr. Padian, who has a masters in education,

taught middle-school science for three years and has worked on California’s

science-curriculum standards and textbook-review committee, 16:43-44, 59, both

of whom have also been science teachers at the university level for several

decades, are qualified by virtue of their experience in these areas to comment on

the Dover policy.

                    294. Dr. Brian Alters testified for plaintiffs as an expert in the field

of science education, particularly the teaching of evolution. Dr. Alters, who has

joint appointments at McGill University and Harvard University, has published

numerous refereed articles and other writings on science education, has extensive

experience in training science educators at all levels, has substantial responsibility

for grant programs in the United States and Canada affecting the teaching of

science, and has interviewed over a thousand high-school students to understand

the how religious views can affect science education. 14:50-68 (Alters); P182

(curriculum vitae). Dr. Alters has also authored several textbooks about how to

teach evolution at both the college and high-school levels. 14:62-67. In short, Dr.

Alters is eminently qualified to proffer opinions on science education generally,

and more specifically about teaching evolution.


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                    295. Pedagogy is the art and science of teaching. 14:70-71. Good

pedagogy entails not promoting misconceptions. 14:71. According to Dr. Alters,

“There would hardly be anything worse for a science teacher to do than engender

needless misconceptions.” Id.

                    296. Both facets of the Dover policy, i.e., (a) undermining the status

of evolutionary theory and (b) promoting intelligent design as a scientific

alternative, engender misconceptions because both propositions are inconsistent

with the positions taken by every scientific and science-education association in

the country.

                    297. Dr. Alters echoed Dr. Miller’s testimony that every major

scientific association opposes efforts both to undermine evolution and to promote

intelligent design as a scientific alternative. 14:75-78.

                    298. Dr. Alters testified that every science-education organization

has taken a position mirroring those of the scientific associations, namely,

opposing efforts to diminish the status of evolution and to promote intelligent

design as a scientific alternative. For example, the largest science-teachers’

organization in the country, the National Science Teachers Association (NSTA),

has taken the position that “’creation science’ or related concepts, such as so-called

‘intelligent design,’ ‘abrupt appearance,’ and ‘arguments against evolution’”

should not be taught in science class. P183; 14:90-91. Moreover, NSTA has


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decried efforts to “diminish” the teaching of evolution through political and

community pressure and intimidation. P183; 14:81-85. Specifically, NSTA has

stated that requiring teachers to teach that evolution is “only a theory” is “bad

educational policy” that will cause “science literacy itself [to] suffer.” P183, at 4.

The country’s largest biology-teachers’ organization, the National Association of

Biology Teachers (NABT) has taken the same position. P186. Specifically,

NABT has said that “intelligent design theory” is “outside the realm of science and

not part of a valid science curriculum.” Id. Dr. Alters was unaware of any

science-education groups that support Dover’s policy. 14:99. In sum, Dover’s

policy finds no support among any scientific or science-education organizations.

                    299. A further reflection that Dover’s policy is unsupported by the

scientific or the science-education community can be found in the fact that the only

high-school biology texts that promote teaching intelligent design are distributed

by religious publishers: the Christian Liberty University Press and Bob Jones

University Press. 14:106-107 (Alters). To his knowledge, neither is used in any

public school. Id. Dr. Alters is not aware of any college-level biology textbook

that teaches evolution as itself controversial, or that supports the teaching of

intelligent design. Those that mention intelligent design teach students that it is

not science. 14:108-109 (Alters).




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                    300. Contrary to defendants’ claim, the Pennsylvania academic

standards for teaching science do not support the Dover policy. The Pennsylvania

standards require that science teaching be consistent with the consensus in the

scientific community. P210; 14:102-103 (Alters). The Pennsylvania standards

treat evolution like other scientific theories, and do not single it out for particular

scrutiny or treatment as controversial. 14:104-105 (Alters). The Pennsylvania

standards do not call for teaching intelligent design. Indeed, the standards require

that “theories and laws” must “have been verified by the scientific community,” a

test that would directly prohibit introducing intelligent design, since every

scientific and science-education organization opposes it. P210 at 4; 14:102-105

(Alters). Finally, the requirement in the standards that students be able to

“[c]ritically evaluate the status of existing theories” does not support the Dover

policy. It does not single out evolution for special, critical treatment, and it

certainly does not promote intelligent design. 14:104-05. Consequently, the

Pennsylvania academic standards do not justify or support the Dover policy.

                    301. In Dr. Alters’ view, the Dover curriculum change and the four-

paragraph statement promulgated to implement it do not promote good science

education. 14:109-20. The statement read to students singles out evolution for

special and negative treatment. It misleads students about the status of evolution

by asserting that it is not a fact and by suggesting that evidence for evolution is


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controversial. Evolution is “extraordinarily well accepted” by the scientific

community, thereby making the second paragraph misleading. Defendants

philosophy expert, Stephen Fuller, agreed that telling students that evolution is a

theory, not a fact, is “misleading.” Fuller Dep, at 111. The third paragraph implies

that intelligent design suffers from none of these deficiencies; instead, without any

reference to the consensus against teaching intelligent design in the scientific and

education community, students are referred to Pandas, which advocates intelligent-

design creationism. 14:109-117 (Alters). The curriculum and statement engender

misconceptions in students about science education and generally misprepare

students for further science education. 14:117 (Alters). The engendering of

misconceptions is poor pedagogy. 14:118-19.

                    302. Professor Ken Miller expressed very similar opinions about the

Dover statement. As a prominent high-school-textbook author, Dr. Miller

explained that, in his opinion, the policy misleads students about the status of

evolution as a scientific theory and that there is simply no scientific basis for

introducing students to intelligent design. 2:47-55 (Miller). It “drives a wedge”

between students and the practice of science by encouraging great skepticism about

science and scientists. 2:53-54. Similarly, Dr. Padian believes the statement is

bound to confuse students about science generally and evolution in particular. In

his blunt words, it makes them “stupid.” 17:48-52 (Padian).


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                    303. Furthermore, the phrasing and juxtaposition of the four

paragraphs augments students’ perception that evolution is suspect and that the

school endorses intelligent design. The first paragraph tells students that they will

learn about evolution because state law mandates it. 2:47 (Miller). The second

paragraph will be interpreted as “we don't really believe this stuff (evolution), it's a

theory not a fact. There are gaps. There's no evidence. We're very skeptical of

this.” Id. By contrast, the third paragraph discussing intelligent design contains

none of the negative and denigrating language attached to evolution, creating the

impression that the school supports it. 2:47-48. And the fourth paragraph

encourages students to discuss all this with their parents and that, by the way, they

are learning about evolution only because it is required by Pennsylvania law. 2:48.

Since the lesson on evolution is the only time that students will hear such a

disclaimer or warning, the obvious reaction is that this subject matter is suspect.

Id. Dr. Alters advanced a similar analysis. 14:109-17.

                    304. More significantly, Dr. Alters and Dr. Miller agreed that

introducing intelligent design invites religion into the science classroom. This was

Dr. Alters’ “biggest concern.” 14:143. Introducing intelligent design sets up what

will be perceived by students as a “God-friendly” science, the one that mentions an

intelligent designer, and that other science, evolution, that takes no position on

religion. 14:144-45. Injecting religious views into the classroom and thus


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encouraging students to have to take sides about which “science” to accept is

“probably the worst thing I’ve heard of in science education.” 14:145.

                    305. Dr. Miller, who in addition to his many other accomplishments

wrote the trade-publication, Finding Darwin’s God: A Scientist’s Search for

Common Ground Between God and Evolution, testified that students would “get

the message in a flash. … You got your God consistent theory, and over on the

other side, you got your atheist theory, which is evolution. It produces a false

duality. And it tells students … quite explicitly, choose God on the side of

intelligent design or choose atheism on the side of science.” 2:54-55. Introducing

such a religious conflict into the classroom is “very dangerous” because it forces

students to “choose between God and science,” not a choice schools should be

foisting on students. 2:55.

                    306. Dr. Padian raised other potential religious implications

attending the introduction of intelligent design to students. Students are likely to

ask whether the inability of animals to evolve naturally points to the imperfection

of the creator. 17:50. What does it say about the Creator’s ability to intervene in

natural processes, and if he (or she or they or it) has that capability why don’t they

intervene more often to alleviate pain and suffering in the world. Id. In other

words, intelligent design invites theological questions, something which is

inappropriate for a science class. 17:51.


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                    307. Dr. Alters rejects Dover’s explanation that its curriculum

change and the statement implementing it are not teaching. He finds, to the

contrary, that substantive misconceptions about the nature of science, evolution,

and intelligent design are conveyed to students; in his words, the statement

“facilitates learning.” 14:120-123 (Alters). The statement is a “mini lecture,” that

may not be good teaching, but is nonetheless a form of teaching. 15:57-59.

                    308. According to Dr. Alters, the circumstances surrounding the

introduction of the evolution unit in ninth grade biology, including the reading of

the statement by an administrator, the opportunity that students have to opt-out of

hearing that reading, and the text of the statement itself, all heighten the students’

learning that evolution is controversial and that intelligent design is being

promoted by the district. 14:123-125.

                    309. Dr. Alters also testified that the school’s ban on any discussion

of intelligent design, beyond the reading of the statement, by students and teachers

gives students the impression that intelligent design is a “secret science.” 14:126.

Pedagogically, introducing students to a concept and then prohibiting discussion

about it is “absurd.” 14:127. Defendants’ philosophy (but not education) expert,

Stephen Fuller, agreed that the ban on discussion undermines the Dover policy’s

pedagogical value. 28:14.




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                    310. In Dr. Alters’ view, the curriculum change and its

implementation do not enhance critical thinking, but rather stifle it. 14:127-129

(Alters). It confuses students and engenders misconceptions about the very nature

of science. 14:127-32, 142-43.

                    311. In light of the defendants’ failure to present any evidence by

Dover officials identifying a secular justification for the policy beyond just

“balance the teaching of evolution,” and the absence of any expert testimony

rebutting plaintiffs’ science-education experts who condemned the policy as

indefensible from either a scientific or pedagogical perspective, this Court finds

that the defendants did not have a valid secular purpose for the intelligent-design

policy.

VI.       PROPOSED ULTIMATE FINDINGS OF FACT
                    312. Intelligent design is a religious, non-scientific concept.

                    313. Intelligent design promotes the religious belief that a

supernatural actor intervened in natural history and acted directly to design and

create living things.

                    314. Intelligent design is not only religious, it is sectarian. It

promotes the particular religious views held by some but not all believers in

Christianity.




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                    315. Intelligent design is a form of creationism, but one that does not

expressly identify the designer and creator of living things as the God of the Bible.

By description, if not label, however, the intelligent designer – also referred to by

intelligent-design proponents as the intelligent agent, intelligent actor, master

intellect – is obviously God.

                    316. The textbook Of Pandas and People was prepared as a

creationist textbook. In drafts of the book, the words “intelligent design” were

inserted in place of “creation” and its cognates in numerous places throughout the

text following the Supreme Court’s 1987 decision in Edwards v. Aguillard, without

any meaningful change in content.

                    317. Intelligent design is part of a national religious and cultural-

renewal strategy, as evidenced by the Wedge Document and statements by leaders

of the intelligent-design movement, such as Phillip Johnson and William Dembski.

                    318. Intelligent design posits a supernatural actor as the source of

life and the complexity of biological life.

                    319. Intelligent design does not qualify as science for a variety of

reasons:

                              (a)     It violates the ground rules of science, as they have been

practiced for hundreds of years since the scientific revolution, because it i) posits a




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supernatural actor as an explanation for natural phenomena and ii) it cannot be

tested.

                              (b)     It has been universally rejected as science by the

scientific community.

                              (c)     It finds no support in the peer-reviewed scientific

literature.

                              (d)     It is not the subject of scientific testing and research.

                              (e)     It makes no predictions and offers no explanations other

than “the intelligent designer did it.”

                              (f)     It is primarily a negative argument against evolution.

                              (g)     The arguments made against evolution distort and

misrepresent the real state of scientific knowledge.

                    320. Intelligent-design proponents seek to advance intelligent design

not to explain the natural world, but as a means of challenging accepted scientific

knowledge that they believe conflicts with their religious values.

                    321. Board members expressed a desire to teach creationism in

science class as an alternative to the scientific theory of evolution on numerous

occasions, including public meetings in June 2004.




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                    322. Statements attributed to board members and administrators in

June 2004 by the York Dispatch and York Daily Record were in fact said by those

board members and administrators, as reported.

                    323. Witnesses who testified on behalf of the defendants did not

testify truthfully or accurately about the June 2004 school board meetings and

about other events, statements, and circumstances relating to the change to the

biology curriculum.

                    324. The lack of truthfulness by some witnesses for the defendants,

including board members, demonstrates an intent to conceal an improper religious

purpose.

                    325. Board members who supported the October 18, 2004 board

resolution to change the biology curriculum and the February 2005 newsletter

wanted to promote to students at Dover High School and throughout the Dover

community a religious alternative to the scientific theory of evolution.

                    326. Board members ensured that the teaching of evolution at Dover

High School would be limited to propositions that did not conflict with their

religious beliefs, and prevented the teaching of key aspects of the theory that did

conflict with their religious beliefs, such as macroevolution, speciation, and

common ancestry.




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                    327. Board members who supported the October 18, 2004 resolution

and the February 2005 newsletter sought to denigrate the scientific theory of

evolution and promote intelligent design as an alternative because evolution

conflicts with their personal religious beliefs.

                    328. The Board had no secular purpose for changing the biology

curriculum.

                    329. There can be no secular purpose for promoting a religious, non-

scientific proposition like intelligent design.

                    330. Prior to passage of the October 18, 2004 resolution, the Board

did not discuss the substance of intelligent design or how promoting it and

denigrating the scientific theory of evolution would promote good science

education or any other secular purpose.

                    331. The secular purpose(s) advanced by defendants’ counsel as the

supposed grounds for the Board’s actions are not supported by the evidence and

constitutes a pretext to mask the Board’s religious purpose.

                    332. Prior to passage of the October 18, 2004 resolution, the Board

did not engage in any investigation or ask any questions that would be expected if

its purpose was to improve science education, but instead it rejected the strongly-

held views of the district’s science teachers, did not consult any other persons with

expertise in science education, and relied solely on legal advice from two


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organizations with religious, cultural, and legal missions, i.e., the Discovery

Institute and the Thomas More Law Center.

                    333. A reasonable objective observer would perceive intelligent

design as endorsing a particular religious belief.

                    334. A reasonable objective observer would perceive the intelligent

designer of the intelligent-design movement to be God.

                    335. A reasonable objective observer would perceive intelligent

design as the most recent manifestation of creationism.

                    336. A reasonable objective observer would perceive that the Dover

Area School District Board of Directors devised its intelligent-design policy,

including the change to the biology curriculum, the four-paragraph statement read

to students and the newsletter sent to the entire Dover community, because it had

religious objections to the scientific theory of evolution and wanted to provide

students with a religious, or “God-friendly” alternative.

                    337. A reasonable objective observer would perceive intelligent

design, as described in Of Pandas and People and the February 2005 newsletter

published by the Board, as referring to God and promoting a particular religious

view.

                    338. A reasonable objective observer would perceive the statement

read to students in biology class about intelligent design as religious because the


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science teachers will not read the statement on ethical grounds, students are told

intelligent design should be pursued at home, and the students are not permitted to

ask questions about intelligent design or discuss it in class.

                    339. A reasonable objective observer would perceive Of Pandas and

People to be a creationist textbook.

                    340. The change to the biology curriculum, and the statement read to

students, do not enhance science education, and, in fact, harms science education

by about how science works, about the status of evolution in the scientific

community, and by teaching them that the religious argument of intelligent design

is scientific.

                    341. The change to the biology curriculum harms students by

placing science education and scientific knowledge in conflict with religious

beliefs.

                    342. The change in biology curriculum harms students by favoring a

particular religious viewpoint, with which some students and their families may

disagree.

                    343. The defendants' actions have had a divisive effect on the Dover

community, with many members taking sides in favor of or in opposition to the

Board's actions because they either favor or opposed religion in public schools.




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                    344. The plaintiffs, parents of children in the Dover schools, have

been harmed by the Board's actions because they interfere or threatens to interfere

with their right to instruct their children on matters of faith and religion and

because they have been cast as outsiders in the Dover community because they

oppose the Board's actions.

VII. PLAINTIFFS’ PROPOSED CONCLUSIONS OF LAW
                    345. The Court has jurisdiction over the parties and the controversy.

                    346. Plaintiffs have standing to bring their claims.

                    347. The curriculum change adopted by defendants endorses

religion, in violation of the Establishment Clause of the First Amendment to the

United States Constitution, 42 U.S.C. § 1983, and Art. I, Sec. 3 of the

Pennsylvania Constitution.

                    348. Defendants’ purpose in adopting the curriculum change was to

introduce a religious view of biological origins into the biology course, in violation

of the Establishment Clause, 42 U.S.C. § 1983, and Art. I, Sec. 3 of the

Pennsylvania Constitution.

                    349. The effect of the defendants’ actions in adopting the curriculum

change was to impose a religious view of biological origins into the biology

course, and broadcast that view to the Dover community in violation of the




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Establishment Clause, 42 U.S.C. § 1983, and Art. I, Sec 3 of the Pennsylvania

Constitution.

                    350. So-called “intelligent design” is merely a sanitized version of

“creationism” or “creation science,” and as such may not be taught in public

schools, consistent with the Establishment Clause of the First Amendment and

Art. I, Sec. 3 of the Pennsylvania Constitution.

                    351. In order to preserve the separation of church and state mandated

by the Establishment Clause, and Art. I, Sec. 3 of the Pennsylvania Constitution, it

is necessary and appropriate to enter an order enjoining defendants from

implementing their biology curriculum change, from requiring teachers to

denigrate or disparage the scientific theory of evolution, and from requiring

teachers to refer to an alternative theory known as “intelligent design.” It is also

necessary and appropriate to issue a declaratory judgment that plaintiffs’ rights

under the Constitutions of the United States and the Commonwealth of

Pennsylvania have been violated by defendants’ actions.

                    352. The actions of the defendants in violation of Plaintiffs’ civil

rights as guaranteed to them by the Constitution of the United States and 42 U.S.C.

§ 1983 subjects defendants to liability not only with respect to injunctive and

declaratory relief, but also for nominal damages and the reasonable value of




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plaintiffs’ attorneys’ services and costs incurred in vindicating plaintiffs’

constitutional rights.




                                      Respectfully submitted,


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                                      Exhibit A




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VOLUME                  DATE          TRIAL DAY     SESSION                     WITNESS

     1         September 26, 2005       Day 1       Morning    Kenneth R. Miller
                                                               (Direct)


     2                                  Day 1      Afternoon   Kenneth R. Miller
                                                               (Direct and Cross)


                                                               Kenneth R. Miller
                                                               (Cross, Redirect)

     3         September 27, 2005       Day 2       Morning    Tammy Kitzmiller
                                                               (Direct, Cross)

                                                               Aralene Callahan
                                                               (Direct)


                                                               Aralene Callahan
                                                               (Direct and Cross)
     4                                  Day 2      Afternoon
                                                               Bryan Rehm
                                                               (Direct, Cross and Redirect)


                                                               Dr. Robert Pennock Ph. D.
     5         September 28, 2005       Day 3       Morning    (Direct, Cross, Redirect and Recross)


                                                               Julie Smith
                                                               Direct, Cross)

     6                                  Day 3      Afternoon   Christy Rehm
                                                               (Direct, Cross)

                                                               Beth Eveland
                                                               (Direct, Cross)


     7         September 29, 2005       Day 4       Morning    Carol Brown
                                                               (Direct)




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VOLUME                  DATE          TRIAL DAY     SESSION                   WITNESS

                                                               Carol Brown
                                                               (Cross, Redirect and Recross)

                                                               Jeffrey Brown
     8                                  Day 4      Afternoon   (Direct, Cross, Redirect and Recross)


                                                               Frederick Callahan
                                                               (Direct and Cross)


               September 30, 2005                                       No Morning Session


     9                                  Day 5      Afternoon   John F. Haught, Ph. D.
                                                               (Direct and Cross)


    10            October 5, 2005       Day 6       Morning    Barbara Forrest, Ph. D.
                                                               (Direct)


    11                                  Day 6      Afternoon   Barbara Forrest, Ph. D.
                                                               (Direct and Cross)


                                                               Barbara Forrest, Ph. D.
                                                               (Cross, Redirect and Recross)
    12            October 6, 2005       Day 7       Morning
                                                               Jennifer Miller
                                                               (Direct)


                                                               Jennifer Miller
    13                                  Day 7      Afternoon   (Cross, Redirect and Recross)

                                                               Bertha Spahr
                                                               (Direct)


                                                               Bertha Spahr
                                                               (Cross)
    14           October 12, 2005       Day 8       Morning
                                                               Brian Alters, Ph. D.
                                                               (Direct)




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VOLUME                  DATE          TRIAL DAY     SESSION                    WITNESS



    15                                  Day 8      Afternoon   Brian Alters
                                                               (Cross, Redirect and Recross)

                                                               Cynthia Sneath
                                                               (Direct and Cross)

                                                               Steven Stough
                                                               (Direct)


                                                               Steven Stough
                                                               (Direct and Cross)
    16           October 14, 2005       Day 9       Morning
                                                               Kevin Padian, Ph. D.
                                                               (Direct)


                                                               Kevin Padian, Ph.D.
                                                               (Direct, Cross and Redirect)
    17                                  Day 9      Afternoon
                                                               Joel Leib
                                                               (Direct, Cross, Redirect and Recross)


    18           October 17, 2005      Day 10       Morning    Professor Michael J. Behe
                                                               (Direct)


    19                                 Day 10      Afternoon   Professor Michael J. Behe
                                                               (Direct)


    20           October 18, 2005      Day 11       Morning    Professor Michael J. Behe
                                                               (Direct)


    21                                 Day 11      Afternoon   Professor Michael J. Behe
                                                               (Direct and Cross)


    22           October 19, 2005      Day 12       Morning    Professor Michael J. Behe
                                                               (Cross)


    23                                 Day 12      Afternoon   Professor Michael J. Behe
                                                               (Cross, Redirect and Recross)


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VOLUME                  DATE          TRIAL DAY     SESSION                  WITNESS




                 October 20, 2005                                       No Morning Session


    24                                 Day 13      Afternoon   Richard Nilsen
                                                               (Direct)


    25           October 21, 2005      Day 14       Morning    Richard Nilsen
                                                               (Direct and Cross)


    26                                 Day 14      Afternoon   Richard Nilsen
                                                               (Redirect and Recross)

                                                               Michael Richard Baksa
                                                               (Direct)


    27           October 24, 2005      Day 15       Morning    Professor Steven William Fuller
                                                               (Cross, Redirect and Recross)


    28                                 Day 15      Afternoon   Professor Steven William Fuller
                                                               (Cross, Redirect and Recross)


    29           October 27, 2005      Day 16       Morning    William Buckingham
                                                               (Direct as on cross)


    30                                 Day 16      Afternoon   William Buckingham
                                                               (Direct as on cross)

                                                               Heidi Bernhard - Bubb
                                                               (Cross)


                                                               Heidi Bernhard - Bubb
                                                               (Cross and Redirect)
                                                   Morning
    31           October 28, 2005      Day 17         and      Joseph S. Maldonado
                                                   Afternoon   (Direct and Cross)

                                                               Heather Geesey
                                                               (Direct, Cross, Redirect and Recross)


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VOLUME                  DATE          TRIAL DAY     SESSION                   WITNESS

                                                               Michael Baksa
                                                               (Direct)


                                                               Jane Cleaver
    32           October 31, 2005      Day 18       Morning    (Direct, Cross and Redirect)

                                                               Alan Bonsell
                                                               (Direct)


    33                                 Day 18      Afternoon   Alan Bonsell
                                                               (Direct and Cross)


    34          November 2, 2005       Day 19       Morning    Alan Bonsell
                                                               (Redirect and Recross)

                                                               Sheila Harkins
                                                               (Direct, Cross, Redirect and Recross)


    35                                 Day 19      Afternoon   Michael Baksa
                                                               (Direct and Cross)


                                                               Michael Baksa
                                                               (Cross, Redirect and Recross)
    36          November 3, 2005       Day 20       Morning
                                                               Robert Linker
                                                               (Direct, Cross, Redirect and Recross)


    37                                 Day 20      Afternoon   Professor Scott Minnich
                                                               (Direct, Cross)


    38          November 4, 2005       Day 21       Morning    Professor Scott Minnich
                                                               (Direct, Cross)


    39                                 Day 21      Afternoon   Closing Arguments




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CERTIFICATE OF SERVICE
                    I, Eric Rothschild, hereby certify that on November 23, 2005, I caused

true and correct copies of the foregoing Plaintiffs’ Finding of Fact and Conclusions

of Law, and supporting Memorandum of Law, to be served upon the following

counsel via electronic filing, electronic mail and Federal Express mail, postage

prepaid to:

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                                       Robert J. Muise
                                       Patrick T. Gillen
                                       THOMAS MORE LAW CENTER
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                                            _______/s/ Eric Rothschild________


                                                    ERIC ROTHSCHILD




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